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                                                                    United States Courts
                                                                  Southern District of Texas
                                                                        &/>ED
                      !'(!'&''&&'%'"(%'November 19, 2020
                           &"('%!&'%'"'+&
                                                     David J. Bradley, Clerk of Court
                                 !)&"!

"&'                                O          
                                        O
     ,"*.3*''                          O
                                        O          
.                                       O     &'  .  
                                        O
                                        O          
                                    O          
!&-*'&+'$!,                     O
!&(&&,+ ''$!+,*!,              O
                                        O
       &'&.%".3                        O
      

         #!'M&%&#"!&'"!!'!(%"!&"'
              !#!!'&""&'%'M& "'"!"%&(                    %,
                                        ( !'
      
'"'"!"%"(%'
      
      9:9B85BH8=B6IF;CBGC@=85H98!B89D9B89BH+7<CC@=GHF=7HTGQ!+RCFQ=GHF=7HR

CFQ+7<CC@R%CH=CB:CF+IAA5FM"I8;A9BHG<CI@86989B=98:CF5H@95GHH<9:C@@CK=B;F95GCBG

    • /<3=3/B63<A7FB33<G3/@=:2ABC23<BE/AA3FC/::G/AA/C:B327<1:C27<5AC443@7<5
       />3<3B@/B7<57<8C@GB=63@/<CA/<2A3FC/::G6/@/AA32=<;C:B7>:3=11/A7=<A
       
    • &3;>:=G33/<2B3/163@@/<17A1==@=</2=/27::=>:3/25C7:BGB=&3FC/:
       AA/C:B=4/67:2/<2;>@=>3@%3:/B7=<A67>3BE33<2C1/B=@&BC23<B&31=<2
       35@333:=<73A/<2@3137D324=C@ G3/@A7<8/7:/27::=E/A/::=E32B=03/:=<3
       E7B6/<3=34=@3FB3<232>3@7=2A=4B7;32C@7<5B632/G631=C:25=E63@363
       E/<B32E63<63E/<B32/<21=C:2@3BC@<E63<63>:3/A32
       
    • & 6/2 /1BC/: <=B713 =4 6/@/AA;3<B /<2 /AA/C:B 7< 7BA >@=5@/;A /<2 E/A
       23:703@/B3:G7<27443@3<BB=B6/B6/@/AA;3<B/<2/AA/C:B
       
    • B&/B3/163@1=C:2@3;=D3/167:24@=;B631:/AA@==;/<2/B67AE67;933>
       B63167:2/A:=<5/A63E/<B32/<2B/93B63167:2E63@3D3@63E/<B3211=@27<5B=
       =<3=4/<3=3MAB3/163@A/27::=E/A@3;=D7<5/<3=34@=;B631:/AA@==;A=
       4@3?C3<B:GB6/B7BE/AK031=;7<5/6/07BL=3E/A/:A=@3;=D32=<=11/A7=<E7B6=CB
       3D3< 63@ B3/163@ @3?C3AB7<5 AC16 /1B7=< ;>=@B/<B:G B63@3 E/A /0A=:CB3:G <=


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         >/>3@E=@9@3?C7@324=@/27::=B=@3;=D3/167:24@=;B631:/AA@==;A=<==<31/<
         0313@B/7<6=E;/<GB7;3AAC16K@3;=D/:AL=11C@@32
         
    •   &6/2<=>=:71G>@=6707B7<5/B3/163@:793/27::=4@=;037<5/:=<3E7B6/167:2
         <=@ E/A B63@3 / >=:71G @3AB@71B7<5 E63@3 /27::= 1=C:2 B/93 B63 167:2 =@ E63< 63
         A6=C:2@3BC@<B63@3A7;>:GE/A<=/11=C<B/07:7BGE6/BA=3D3@
         
    •   & 6/A @3137D32 ;C:B7>:3 1=;>:/7<BA >@3D7=CA:G @35/@27<5 A3FC/: /AA/C:B /<2
         A3FC/:6/@/AA;3<B0G/B3/163@=4/ABC23<B7<1:C27<5/>@7=@1=;>:/7<B0G/;7<=@
         43;/:3ABC23<B/5/7<AB/27::=4=@@3;=D7<563@4@=;63@1:/AA53BB7<563@/:=<3/<2
         /A97<5 /0=CB 63@ <C23 >6=B=5@/>6A A/G7<5 A63 K:==932 <713L /<2 B6/B A63 6/2
         K<=B67<5B=03/A6/;32/0=CBL&=44717/:A6/D3/:A=033<AC32>@3D7=CA:G4=@
         B63 A3FC/: /AA/C:B =4 / ;7<=@ 0G 67A B3/163@ 3A>7B3 B63 >@7=@ AC7B /<2 >@7=@
         1=;>:/7<BA & 4/7:32 B= >CB >=:7173A 7< >:/13 & E/A B6CA 23:703@/B3:G
         7<27443@3<BB=B63@756BA=4/<3=3
         
    •   &6/2<=>=:71G7<>:/13/BB63B7;3=4B63/AA/C:BA/<26/@/AA;3<B@3?C7@7<5/
         AGAB3;B=B@/19B63E63@3/0=CBA=4ABC23<BAE67:3/BA16==:&6/2<=>=:71G
         >@3D3<B7<5/B3/163@4@=;037<5:34B/:=<3E7B6/167:24=@3FB3<232>3@7=2A=4B7;3
         &E/AB6CA23:703@/B3:G7<27443@3<BB=B63@756BA=4/<3=34B3@/<3=3MA
         /AA/C:B/<2=CB1@G&<=E6/A=<3E@7BB3<>=:71G
         
    •   343<2/<B A339A 27A;7AA/: =< B63 3D3 =4 ;327/B7=< '63 >/@B73A /@3 A1632C:32 4=@
         ;327/B7=<7<B67A;/BB3@=<313;03@   

                                                
                                          !'%"('"!
         
         9:9B85BHTG%CH=CB=GA9F=H@9GG5B8G<CI@86989B=98 

         9:9B85BH8=B6IF;!+<5857HI5@?BCK@98;9C:"5B9C9TG<5F5GGA9BHCF5H@95GH?B9K

H<9F9 K5G 5 GI6GH5BH=5@ F=G? H<5H G9LI5@ 56IG9 KCI@8 C77IF 6M 58=@@C 5B8 9:9B85BH K5G

89@=69F5H9@M =B8=::9F9BH HC H<5H <5F5GGA9BH  'B79 H<9 +7<CC@ <58 BCH=79 C: DF9J=CIG F9DCFHG C:

58=@@CTG =B5DDFCDF=5H9 69<5J=CF DF=CF HC "5B9 C9TG 5GG5I@H 8=B6IF; !+ G<CI@8 <5J9 :=F98

58=@@CCBH<9GDCH  CK9J9F8=B6IF;!+8=8BCH5@@CK=B;<=AHCF9A5=BCB75ADIGHCDF9M

CB"5B9C9 88=H=CB5@@MBCCB95HH<9G7<CC@?B9K<CK@CB;%F 58=@@C5B8H<97<=@8K9F9

5@CB9BCCB9K5G79FH5=BK<9F9%F 58=@@C5B8H<97<=@8K9F9@C75H988IF=B;H<9=FH=A95@CB9 

/<5H K5G 7@95F <CK9J9F K5G H<5H !+ <58 BC DC@=7M DF9J9BH=B; GI7< 7CB8I7H  (@5=BH=::TG



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7CIBG9@EI9GH=CB98H<9:CFA9F5GG=GH5BHDF=B7=D5@G5B8H<9:CFA9FDF=B7=D5@F9D95H98@M56CIHH<9

@57?C:5DC@=7MF9EI=F=B;GHF=7H577CIBH56=@=HMC:H<9K<9F956CIHGC:A=BCFGHI89BHGK<=@95HH9B8=B;

G7<CC@5B8H<9@57?C:DC@=7MDFC<=6=H=B;7<=@8F9B:FCA69=B;@9:H5@CB9IBGID9FJ=G98:CF@CB;

D9F=C8GC:H=A9K=H<H957<9FGCFGH5::C:5BMGCFH ,<9G9K=HB9GG9GH9GH=:=98H<5HH<9F9G<CI@8<5J9

699BDC@=7=9G=BD@579GI7<5GH<9CB9G89G7F=69856CJ9 J9B5:H9F5G=A=@5F=B7=89BHC77IFF98>IGH

85MG69:CF9(@5=BH=::TGG9LI5@5GG5I@HK<9F9%F 58=@@CDI@@985A=BCFGHI89BHCIHC:7@5GG5B8

G9J9F5@ =B7=89BHG C: H957<9F A=G7CB8I7H <58 C77IFF98 DF9J=CIG@M 5H !+ G7<CC@G 9:9B85BH

!+A589BCDC@=7M7<5B;9GK<5HGC9J9F:C@@CK=B;H<9G9=B7=89BHG 

        9:9B85BHTGDC@=7=9GH<5H9L=GH985HH<9H=A9C:"5B9C9TG5GG5I@HG89ACBGHF5H989@=69F5H9

=B8=::9F9B79HCH<9G5:9HM5B8F=;<HGC:7<=@8F9BK<C5F9H<9ACGHJI@B9F56@95B8H<9ACGHGCI;<H

CIH6MG9LI5@DF985HCFG !+<58BCDC@=7MDFC<=6=H=B;H957<9FG@=?958=@@C:FCA69=B;56@9HC

F9ACJ957<=@8:FCA7@5GG5B8:FCAH5?=B;H<5H7<=@8HC695@CB9:CF@CB;D9F=C8GC:H=A9K<9F9J9F

58=@@C7<CG9HC;C IFH<9F!+<58BCDC@=7MDFC<=6=H=B;H957<9FG@=?958=@@C:FCAH5?=B;5

GHI89BH:FCAH<97@5GGFCCAK=H<BCF9EI=F9889GH=B5H=CB=BCH<9FKCF8GK<9B58=@@CKCI@8H5?9

C9CF5BCH<9F7<=@8CIHC:H<97@5GGFCCAHCQKCF?CB5DFC>97HRG<9A=;<HF9HIFB=BH9BA=BIH9G

G<9A=;<HF9HIFB=BH<=FHMA=BIH9GCFB9J9FF9HIFBHC7@5GG5H5@@ 9GD=H9H<9?BCKBF=G?K<=7<

K5G A589 7FMGH5@ 7@95F =B DF9J=CIG =B7=89BHG H<9 :5=@IF9 HC 58CDH 589EI5H9 DC@=7=9G 6M !+

7F95H985B9BJ=FCBA9BHF=D9:CF5DF985HCF@=?958=@@CHC5GG5I@H5<9@D@9GG7<=@8 

        !BH<9D9F=C869:CF9H<95GG5I@HG58=@@CF9ACJ98"5B9C9:FCAH<97@5GGFCCAAI@H=D@9

H=A9G IF=B;H<=GG5A9H=A9D9F=C8"5B9C9TG69<5J=CFHCC?5HIFB:CFH<9KCFG9 +CA9H<=B;

K5GH9FF=6@MKFCB;5H+!H<5H5@@CK9857<=@8DF985HCF@=?958=@@CHCH5?957<=@8:FCAH<9

7@5GGFCCA5B8<5J9<=GK5MK=H<"5B9C9 (@5=BH=:::=@98H<=G@5KGI=HHC:CF797<5B;95HH<9G7<CC@

                                  

&2+=89A038+66C-2+81/.98/:963-C'2/</3=+A<3>>/8:963-C:<923,3>381>/+-2/<=0<97,/3816/0>+698/
A3>2=>?./8>=?8=?:/<@3=/.'23=-2+81/-+7/>996+>/09<+8/9/


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5B8C6H5=B>IGH=79 (@5=BH=::F9GD97H:I@@M5G?GH<=GCIFHHC89BM9:9B85BH!+TG%CH=CB:CF

+IAA5FM"I8;A9BH 

                                                   
                                              '%'&

        "5B9C9K5G5<5DDM5B8<5F8KCF?=B;G=LH99BM95FC@8;=F@ (F=CFHCH<95GG5I@HG5B8F5D9

"5B9C9@CJ98G7<CC@5B8@CJ98GDCFHG +<9@CJ985@@H<9H<=B;GH<5HCH<9F;=F@GC:H<9G5A95;9

9B>CM "5B9C969;5BH5?=B;7@5GG9G:FCA58=@@C5H8=B6IF;!+TG*C69FH.9@5 =;<+7<CC@

Q*C69FH .9@5R =B H<9 +DF=B; C:          F5B7=G7C 58=@@C =G 5 A5B =B <=G A=8 G K<C K5G

9AD@CM985G55F99F5B8,97<B=75@8I75H=CB,957<9F5H*C69FH.9@5 58=@@C<5857F=A=B5@

<=GHCFM6IHB9J9FH<9@9GG8=B6IF;!+<=F9858=@@C5G5H957<9F 

        ,<9IBK5BH9858J5B79G69;5BK=H<58=@@CA5?=B;57CAA9BHHC"5B9C9GH5H=B;G<9

@CC?98Q<CHR=B5BCIH:=HG<9KCF9HCG7<CC@CB985M +CCB5:H9FK5F8G58=@@C69;5BDI@@=B;"5B9

C9CIHC:<9F7@5GG9GK=H<F9;I@5F=HM HH<9H=A9C:58=@@CTG:=FGHG9LI5@58J5B79<9DI@@98

"5B9C9CIHC:<9F:CIFH<D9F=C87@5GGHC5G?=:G<9<58G9LI5@:5BH5G=9G56CIH<=A  9@5H9F<58

"5B9C9A99H<=A5H<=GK=:9TG7@5GGFCCA8IF=B;<9F:=:H<D9F=C8K<9F9<9DFC799898HC:CF7=6@M

?=GG <9F 5B8 G9LI5@@M 5GG5I@H <9F  9 @=:H98 ID <9F 8F9GG 5B8 :CF79:I@@M =BG9FH98 <=G D9B=G =BHC

(@5=BH=::TG5BIG (@5=BH=:::FCN9 ,<9F9=GJ=89CGIFJ9=@@5B79:CCH5;9C:58=@@C9G7CFH=B;(@5=BH=::

=BHCH<97@5GGFCCAG 

        "5B9 C9 K5G H9FF=:=98 5B8 HF5IA5H=N98 8IF=B; 9J9FM 9B7CIBH9F  +<9 F9D95H98@M HC@8

58=@@CG<9K5GIB7CA:CFH56@95B88=8BCHK5BHHC<5J9G9L  9FGID9F=CFGCA9CB9G<9HFIGH98

                                   

  B23,3>+8/9//:   
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   +>   
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   +>   
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   +>    
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   


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7CAD@9H9@M7CBH=BI98HCDI@@<9FCIHC:7@5GG5B8:CF79<=AG9@:IDCB<9F  9F;F589G<58GH5FH98

HCGI::9F6MH<=GDC=BH 'B5G9D5F5H95B8@5H9FC775G=CB58=@@CDI@@98(@5=BH=::CIHC:<9F9=;<H<

D9F=C87@5GGHCA5?9D@5BGHCA99H5:H9FG7<CC@5B8HC@8<9FHCA99H<=ACIHG=89H<9G7<CC@K<9F9

<9KCI@8D=7?<9FID            &""$%"$ "!" ##  $$   

#'(# $"$%" 'BH<=GC775G=CB58=@@CD=7?98ID(@5=BH=::=B<=GHFI7?5B88FCJ9

H<9HKCC:H<9ACJ9FHC<=GG=GH9FTG<CIG9 /<=@95H<=GG=GH9FTG<CIG958=@@C7CBGIA985@7C<C@

69:CF96F=B;=B;(@5=BH=::=BHCCB9C:H<9698FCCAGK<9F9<9;CHCBHCDC:<9F5B8DFC799898HC

F5D9<9F 58=@@CHC@8"5B9C9H<5H<9KCI@8BCH@9H<9F@95J9IBH=@<9A589<9FQ7IAR "5B9

C9:9@HH<5H=:G<98=8BCH577CAD5BM58=@@CHC<=GG=GH9FTG<CIG9H<5H=HKCI@85::97H<9F;F589G

5B858=@@CKCI@86I@@M<9F 'BH<=GD5FH=7I@5FC775G=CBBCCB95HH<9G7<CC@9BGIF98H<5H"5B9

C9<58699BD=7?98ID6M5D5F9BHCF577CIBH98:CF<9FK<9F956CIHG 

         -DCB=B:CFA5H=CB:FCAJ5F=CIGK=HB9GG9G58=@@C<585?BCKB<=GHCFMC:D5FHM=B;K=H<

GHI89BHGGIDD@M=B;GHI89BHGK=H<8FI;G5B8H<9F9K5G9J9B5B5@@9;5H=CBH<5H<9<58=ADF9;B5H98

5GHI89BH5H*C69FH.9@5 =;<+7<CC@G9J9F5@M95FGDF=CF  88=H=CB5@@M58=@@CK5G?BCKBHC

F9;I@5F@MA5?9G9LI5@5B8F57=5@>C?9G=BH<97@5GGFCCAG9HH=B;  

         GHI89BHC:*C69FH.9@5F9DCFH9858=@@CTGA=G7CB8I7HCBDF=@               HCH<9G7<CC@

58A=B=GHF5H=CB6IHH<9+7<CC@:5=@98HCH5?95BM57H=CB5@@CK=B;58=@@CHC7CBH=BI9HC56IG9CH<9F

GHI89BHG 58=@@C7@95F@M<585<=GHCFMC:57H=B;=B5DDFCDF=5H9@M:FCA;=J=B;GHI89BHG@99K5M=B


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7@5GGHC=B5DDFCDF=5H95B8C::9BG=J9F9A5F?GIBK5BH98D<MG=75@7CBH57H5B8G9LI5@=BH9F7CIFG9

K=H<A=BCFGHI89BHG 

           'B%5M        58=@@C5;5=BDI@@98"5B9C9CIHC:<9F7@5GGK<9F9G<9<585GI6GH=HIH9

H957<9FHC:=B=G<5QDFC>97HR5B8G<98=8BCHF9HIFB:CFH<9F9GHC:H<97@5GGD9F=C8 'B%5M 

       58=@@C5;5=BDI@@98"5B9C9CIHC:7@5GG9J9BH<CI;<H<9H957<9F5H:=FGHF9:IG986IH58=@@C

?9DHD9FG=GH=B;  9HCC?"5B9C9HC<=GK=:9TG7@5GGFCCA6IH=HK5G@C7?98GC<95G?985>5B=HCF

HCIB@C7?H<97@5GGFCCA /<9BH<9M9BH9F98H<97@5GGFCCA58=@@C5G?98"5B9C9=:G<9K5BH98

HC;CHCH<9657?FCCAF9:9FF=B;HCG9LI5@57H=J=H=9G 58=@@C?9DH=BG=GH=B;G5M=B;Q'<75BK9

D@95G98CH<=G5B8;CHCH<9657?FCCA R58=@@C5@GC?=GG98"5B9C969:CF9G<9HF=98HC@95J9 

"5B9C9F9:IG98<=G:IFH<9F58J5B79G5B89J9BHI5@@MF9HIFB98HC<9F7@5GG @MGG5*5A=F9N"5B9

C9TGH957<9FGH5H98H<5H"5B9C95DD95F98B9FJCIG5B8GHF9GG985:H9FG<9F9HIFB98HC<9F7@5GG  

     9F:F=9B8 % K5GHFM=B;HC75@A<9F8CKB  B8M9HH<9H957<9F23*,,8=8BCHH<=B?HC=BJ9GH=;5H9

=H 'BH<5HG5A985M5GHI89BHF9DCFH98HCH<98=B6IF;!+DC@=79H<5H58=@@CK5GH5?=B;"5B9

C9CIHC:7@5GG5B8=BHC5BCH<9F7@5GGFCCA 75ADIGDC@=79C::=79FK5GCB8IHM5HH<9<=;<

G7<CC@ 5B8 K5G GIAACB98 HC H<9 :FCBH C::=79 C: H<9 G7<CC@ HC A5?9 7CBH57H K=H< "5B9 C9 =B

F9:9F9B79HC5BIF;9BHA5HH9F !BH<9DF9G9B79C:H<9C::=79F5B8H<9GG=GH5BH(F=B7=D5@"5B9C9

A589 5B C::=7=5@ CIH7FM GH5H=B; H<5H G<9 <58 G9LI5@ F9@5H=CBG K=H< 5 H957<9F G<9 =89BH=:=98 5G




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F5B7=G7C58=@@C!!! 77CF8=B;HC"5B9C9H<9G7<CC@58J=G9858=@@CHCF9G=;B5B8G5=8H<5H

<97CI@8HF5BG:9FHC5BCH<9FG7<CC@CB79H<9=BJ9GH=;5H=CBK5G7CAD@9H9 ,<9G7<CC@5@GCHC@8

(@5=BH=::H<5HH<9G99J9BHGG<CI@8BCH<5J9<5DD9B985B8H<5HH<9G7<CC@G<CI@8<5J9?9DH57@CG9F

K5H7<CB58=@@C 

        /27::=#:3/2C7:BG

       F5B7=G7C58=@@CD@958;I=@HMHCH<97<5F;9GC:+9LI5@GG5I@HC:5<=@85B8!ADFCD9F

*9@5H=CBG<=D 9HK99B 8I75HCF+HI89BH +97CB8 9;F99 9@CB=9G 5B8 F979=J98 :CIF  M95FG

=ADF=GCBA9BH5HH<9!BGH=HIH=CB5@=J=G=CBC:H<9,9L5G9D5FHA9BHC:F=A=B5@"IGH=79  9=G

7IFF9BH@MG9FJ=B;H=A9 'B7958=@@C=GF9@95G98:FCADF=GCB<9K=@@<5J9HCF9;=GH9F5G5G9L

C::9B89F:CFH<9F9GHC:<=G@=:95B875BBC@CB;9FKCF?5FCIB87<=@8F9B 

        /<3=3&C443@32/@/AA;3<B/<2C::G7<54@=;3@"E< =B63@/<2343<2/<B
        27<0C@5&6/A/7:32B=#@=D7233@<G=C<A3:7<5=@"B63@&C>>=@B
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       :H9F"5B9C9A589<9FCIH7FMHCH<9+7<CC@G<969;5BHC9LD9F=9B79G9J9F9<5F5GGA9BH

5B86I@@M=B;:FCA<9FCKBACH<9FH<9ACGH<95FH6F95?=B;8=G7@CGIF9C:5@@ ,<9=B7=89BH75IG98

"5B9C9HC@95J9*C69FH.9@5 =;<+7<CC@5B8ACJ9CIHC:H<9.5@@9M9BH=F9@MHC CIGHCBHC

:=B=G< <9F >IB=CF 5B8 G9B=CF M95F 5H CIGHCB 7589AM C: !BH9FB5H=CB5@ +HI8=9G    ,<9F9 =G BC

9J=89B79H<5H8=B6IF;!+DFCJ=898"5B9C9K=H<5BM7CIBG9@=B;CFGIDDCFH !B:57H8=B6IF;

!+H<F9KG5@HCBH<9KCIB86M:F5A=B;H<9G9LI5@5GG5I@H6M58=@@CHC"5B9C9TGACH<9F5G

"5B9C9Q<5J=B;5F9@5H=CBG<=DK=H<358=@@C4R577CF8=B;HC"5B9C9TGH9GH=ACBM  @H<CI;<

H<9G7<CC@?B9KJ9FMK9@@H<5H"5B9C9K5G5A=BCF5B87CI@8BCH7CBG9BHHC5F9@5H=CBG<=D ,<9

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+7<CC@GH=@@75BBCHHCH<=G85M6F=B;=HG9@:HC75@@K<5H<5DD9B98HC"5B9C9:CFK<5H=H=G@/>3 

:H9FH<9+7<CC@BCH=:=98H<9ACH<9FC:H<9=B7=89BH"5B9C9TGACH<9F6975A9J9FMIDG9H5H"5B9

C95B8GH5FH98HC75@@"5B9C9B5A9G5B8<=H<9F "5B9C9TGACH<9FHC@8"5B9C9H<5HH<9

F95GCBG<9K5GF957H=B;H<=GK5MK5G6975IG9H<9+7<CC@HC@8<9FH<5H=HK5G5QF9@5H=CBG<=DR 

FCAH<5HDC=BHCB"5B9C9TGACH<9FHC@8"5B9C9H<5HG<9K5GQ8=G;IGH=B;R5B8H<5HG<9QK5GBTH

;C=B;HC695BMH<=B;9@G96IHCB9C:H<CG9B5A9G5B8BC6C8M=G;C=B;HCK5BH3<9F45B8H<5H=HK5G

3<9F4:5I@H5B8H<5H3G<94G<CI@8<5J9699BGHFCB;9F R

            ,<9F9 =G BC 9J=89B79 H<5H 5BMCB9 5H 8=B6IF; !+ F957<98 CIH HC "5B9 C9 5:H9F H<9

=B7=89BHHCDFCJ=895BMF9GCIF79G 

             /<3=3&C443@A4@=; 3<B/:<5C7A6

             "5B9C9H9GH=:=98H<5H5G5F9GI@HC:H<9G9LI5@56IG96M%F 58=@@CG<9=GGI::9F=B;:FCA

GMADHCAGC:A9BH5@5B;I=G<=B7@I8=B;6IHBCH@=A=H98HC

        • =::=7I@HM7CD=B;K=H<79FH5=BG=HI5H=CBG
           
        • +C7=5@K=H<8F5K5@

        • +9@:<5FA
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        • !BHFIG=J9H<CI;<HGC:H<956IG9
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        • 'IH6IFGHGC:5B;9F
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        • $CG=B;5;F=DCB@=:9 5B8
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        • +I=7=85@H<CI;<HG 
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        "5B9C9H9GH=:=98H<5H=:G<9KCI@8Q;9H5B;FMRG<9KCI@8GH5FHHCQDIB7<3<9FG9@:4CBH<9

@9;GR IBH=@ G<9 Q75BTH F95@@M :99@ H<9A 5BMACF9 CF IBH=@ 3<9F4 <5B8 =G HCC 6FI=G98 HC DIB7<

5BMACF9 R+<9K=@@69Q6FI=G98:CF56CIHHKCK99?GGHF5=;<HIBH=@H<96FI=G9GGH5FH;C=B;5K5M R

"5B9 C9 588=H=CB5@@M H9GH=:=98 H<5H G<9 9LD9F=9B798 8=::=7I@H=9G =B =BH=A57M K=H< <9F 6CM:F=9B8

6975IG9G<9:9@H5GH<CI;<G<9K5G69=B;F5D985@@CJ9F5;5=B +<9KCI@869;=BHC7FM8IF=B;

G9L 

        !BH<99J5@I5H=CBG7CB8I7H985:H9FH<9G9LI5@5GG5I@H6M,<9<=@8F9BTGGG9GGA9BH9BH9F

,<9F5DM5B8(GM7<C@C;=75@+9FJ=79G"5B9C99LDF9GG98:99@=B;QK=H<8F5KB5B8G5856CIHH<9

G=HI5H=CB R +<9 9LDF9GG98 :99@=B; Q@=?9 5 ;<CGH C: AMG9@:R Q! 8CBTH :99@ <5DDMR 5B8 Q! :99@

89DF9GG98R "5B9C9H9GH=:=98G<9:99@GG<9B998G588=H=CB5@H<9F5DM 

       CFA9F GG=GH5BH (F=B7=D5@ *CG5 %5F=5 9FB5@ 5B8 CFA9F (F=B7=D5@ +M@J=5 $989GA5

H9GH=:=98H<5HG9LI5@5GG5I@HC:5A=BCF75B69DGM7<C@C;=75@@M5B8D<MG=C@C;=75@@M89J5GH5H=B;H<5H

=H75B75IG9G<5A95B8=H75B=AD57HH<5H7<=@8TG56=@=HMHC58>IGH5G5B58I@H @@C:H<9GMADHCAG

@=GH9856CJ9H<CI;<BCH7CADF9<9BG=J95F97CBG=GH9BHK=H<G9LI5@56IG9  

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           %/+003<7/.           9773>>//     ":38398      +@+36+,6/    +>    2>>:=AAA+-919<1
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          !BF9;5F8HC9J=89B79C:H<9BCBACJ5BH=H=GHC6969@=9J985B85@@F95GCB56@9=B:9F9B79G

=BIF9HCH<9:5JCFC:<=G:5JCF*,,*25/$)& */-&%*$","#2.$  8  H<=F 

     2&& ",2/ "3242)*3" ,&$ .%42  !&.*3) "%*/ /10   - +      

!ADCFH5BH@M H<9 CIFH G<CI@8 F9:F5=B :FCA F9GC@J=B; :57HI5@ 8=GDIH9G 6M K9=;<=B; 7CB:@=7H=B;

9J=89B79/.&85"6"2"+*&"58.%423%  +IDD +  %=GG   5::T8

 8  H<=F   CF5GG9GG=HGDFC65H=J9J5@I9CFCH<9FK=G9897=89:57HI5@=GGI9G  81%5

/"%6"870.$  8H<=F   /,".5 /33/.           /$  + 

H         3CIFHGG<CI@858<9F9HCQH<9:IB85A9BH5@DF=B7=D@9H<5H5HH<9GIAA5FM>I8;A9BH

GH5;9F95GCB56@9=B:9F9B79GG<CI@8698F5KB=B:5JCFC:H<9BCBACJ=B;D5FHM R4 

          !BG<CFHGIAA5FM>I8;A9BH=GBCH5DDFCDF=5H9IB@9GG5:H9FJ=9K=B;H<99J=89B79=BH<9

@=;<HACGH:5JCF56@9HCH<9BCBACJ=B;D5FHMBCF95GCB56@9:57H:=B89FCF>IFM7CI@8F9HIFB5J9F8=7H

:CFH<5HD5FHM &&&(4#*.23&*.5 %-:12/'3)&4,".&%4$4.%         8 H<

=F         ,<979BHF5@=GGI9=BF9;5F8HC58=GDCG=H=J9ACH=CB=GQK<9H<9FH<99J=89B79DF9G9BHG5

GI::=7=9BH8=G5;F99A9BHHCF9EI=F9GI6A=GG=CBHC5>IFMCFK<9H<9F=H=GGCCB9G=898H<5HCB9D5FHM

AIGHDF9J5=@5G5A5HH9FC:@5K R .%&12/.5*#&138/##8.$ - +         

F9J=9KC:H<9:57HGF9@5H=J9HCH<9CD9F5H=J9@9;5@GH5B85F8G=BH<=G75IG9K=@@G<CKH<5HGI7<

9J=89B79=GBCHGCCB9G=898=B:5JCFC:H<99:9B85BH!+5B8H<5H=HG%CH=CB:CF+IAA5FM

"I8;9A9BHG<CI@86989B=98577CF8=B;@M 

         89B=5@C:G5=8%CH=CB=G5@GC:I@@M=B577CF8K=H<GHFCB;DI6@=7DC@=7MG9BH=A9BHGH<5H

GIAA5FM>I8;A9BH=G58F5GH=7F9A98M-//35 )*$"(/ /  8 H<=F 

    5B8G<CI@869IG98GD5F=B;@M *38"3:, ".+/'/13-*3) 1+5".%&1#//-         8




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      H<=F    ,<=GDI6@=7DC@=7M=G9J9BACF95DDFCDF=5H9K<9B895@=B;K=H<GH5HIH9GH<5H

588F9GG7=J=@F=;<HGC:H<9@=H=;5BHG5B85F9F9A98=5@=BB5HIF9@=?9,=H@9!05B8 =BH<=G75IG9 

%CF9CJ9F

          Q+H5HIH9G C: F9<56=@=H5H=CB G<CI@8 69 7CBGHFI98 =B 5 @=69F5@ 5B8 <IA5B=H5F=5B AC89 H<IG
          9::97HI5H=B; GI779GG:I@@M H<9 @9;=G@5HIF9TG C6>97H=J9 =BH9BH=CBG  +I7< 7CBGHFI7H=CB C:
          F9<56=@=H5H=J9GH5HIH9GDFCACH9H<9DI6@=7=BH9F9GHDI6@=7K9@:5F9DI6@=7GH5H9DC@=7M5B8
          H<9 DC@=79 DCK9FG  +I7< G5@IH5FM 7CBGHFI7H=CBG DFCD9F@M 8=GF9;5F8 H97<B=75@ 5B8
          A95B=B;@9GG 8=GH=B7H=CBG 6IH ;=J9 H<9 9B57HA9BH H<9 ACGH 7CADF9<9BG=J9 5DD@=75H=CB C:
          K<=7<H<99B57HA9BHG5F9GIG79DH=6@9K=H<CIHJ=C@9B79HCH<9@5B;I5;9H<9F9=B  &&0"23
          &7"2&(*/.",&.3",&",3)&.3",&3"1%"3*/.&15*$&25*..&"1 + / 8 
          ,9L DD P95IACBH R2&&",2/$)&1&&0.*.5.*()3- +  
           3F9A98=5@@9;=G@5H=CBG<CI@8697CBGHFI986FC58@MHC9::97HI5H9=HGDIFDCG94 

          $5GH 5B8 9J9B =: H<=G CIFH 69@=9J9G H<5H 9:9B85BH <5G G5H=G:=98 H<9 9@9A9BHG 5G

7CBH9AD@5H98 6M 98  *  =J  (   (@5=BH=:: BCH9G H<5H QJ9B =B 75G9G K<9F9 H<9 ACJ5BH <5G

H97<B=75@@M8=G7<5F;98<=G6IF89BH<9HF=5@7CIFH=BH<99L9F7=G9C:5GCIB88=G7F9H=CBA5M897@=B9

HC;F5BHGIAA5FM>I8;A9BH R"3*/.",$1&&.&15*$& /105/23&17$)".(&.$   8

   H< =F     +I7< 5B CIH7CA9 =G 5@GC 5DDFCDF=5H9 K<9F9 =ADCFH5BH DI6@=7 DC@=7M

897=G=CBG5F9=BJC@J98 "1$4253"4,*1&"1*.&.2 /   8H<=F   

    .%&12/.5*#&138/##8.$ 5H  5GH<9MGIF9@M5F9=BH<=G75G9 

          !H=GK=H<H<=GGH5B85F8=BA=B85B8H<9=F9@9A9BHGBCH98<9F9=BH<5H(@5=BH=::TGDFC7998

5B8DFCJ=89G=;B=:=75BHGIAA5FM>I8;A9BH9J=89B79HC89:95H8=B6IF;!+TG%CH=CB 

                                                )
                                      &"#"'#%" 

          +9LI5@56IG9C:GHI89BHG6MH957<9FG=G5B9D=89A=7=BBCHCB@MH<9GH5H9C:,9L5G6IH=B

H<9 9BH=F9 7CIBHFM  +9LI5@ 56IG9 FIBG F5AD5BH CB G7<CC@ 75ADIG9G 5G H957<9FG 5F9 5@@CK98

IB:9HH9F985779GGHCA=BCFGHI89BHGK=H<@=HH@9HCBCGID9FJ=G=CB:FCAH<9G7<CC@G '63G3/@  

A/E /<  !"$ "# 4@=;  7< B63 <C;03@ =4 B3/163@A 6/D7<5 7;>@=>3@

@3:/B7=<A67>AE7B6ABC23<BA/11=@27<5B=/<7<D3AB75/B7=<:/C<16320GB63'3F/A2C1/B7=<



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53<1G  'B98=GHIF6=B;GHI8M7CB8I7H986M)& 423*. -&1*$".3"3&2-".5B8@5H9FDI6@=G<98

=B5B5FH=7@9CB96FI5FM            9BH=H@98 "3"*.%&7"23&"$)&12"$$42&%/'*-01/01*&386*3)

" 234%&.3 :CIB8 H<5H :FCA "5BI5FM                H<FCI;< 979A69F               B3/163@A 7< '3F/A

>3@;/<3<B:G:=ABB637@B3/167<5:713<A3A4=::=E7<5/::35/B7=<A=47;>@=>@73BGE7B6/ABC23<B

/11=@27<5B=2/B/4@=;B63'3F/A2C1/B7=<53<1G ,957<9FG:FCA8=B6IF;!+K9F9

=B7@I898=BH<=G@=GH /CFG9M9HH<985H55@GCF9J95@98H<5HA5BMC:H<9G9H957<9FGK9F95@@CK98

HCF9G=;B:FCAH<9G7<CC@8=GHF=7HG5A=85@@9;5H=CBGC:=ADFCDF=9H=9GK=H<GHI89BHG5B8ACJ98CB

HCCH<9FH957<=B;>C6GG@=DD=B;IB89FH<9F585F !B8998=BH<=G75G9F5B7=G7C58=@@C8=8>IGH

H<5H P F9G=;B98 5A=8 5@@9;5H=CBG C: =ADFCDF=9HM K=H< 8=B6IF; !+ =B 5B CIHF5;9CIG HIFB

57HI5@@M9LH9B8=B;5DDF97=5H=CBHC58=@@C:CF<=GG9FJ=79=B=HG@9HH9FC:F9G=;B5H=CB 77CF8=B;

HC(@5=BH=::=BH<=G75G95B5GG=GH5BHDF=B7=D5@<58HC@8<9FH<5HGCA9CB9=BH<9:57I@HM5H*C69FH

.9@5 =;<+7<CC@<58H=DD9858=@@CC::5B8GI;;9GH98HC<=AH<5H<9F9G=;BGCH<5H<9KCI@8BCH

:579 G9F=CIG 7CBG9EI9B79G  ,<=G 85H5 K5G GC 5@5FA=B; H<5H ,9L5G GH5H9 @5KA5?9FG DFCDCG98

GK99D=B;@9;=G@5H=CBHCDF9J9BHH957<9FG:FCAF9G=;B=B;5A=85@@9;5H=CBG5B8HF5BG:9FF=B;HCCH<9F

G7<CC@ 8=GHF=7HG  G ,9L5G +H5H9 +9B5HCF (5I@ 9HH9B7CIFH F9A5F?98 Q*3 6/D3 5=B B= AB=>

BC@<7<5/0:7<23G3B=B67A3BMA47<2=CBE6/BMA5=7<5=</<2:3BMA2==C@03ABB=AB/;>7B



                                     

   ?63/2+81 "" ! !#!"#$#!#" "#(!'2/?=>387/<3-+8&>+>/=7+8
&/:>/7,/<                     2>>:=AAA=>+>/=7+8-97!*&   +=/=9037:<9:/<>/+-2/<=>?./8>
</6+>398=23:=23>C/+<2312

   9.C*38-2/=>/<+8.?63/2+81 # '"#!"$" ! !#(&#"#$#'2/?=>38
7/<3-+8&>+>/=7+8/,<?+<C   2>>:=:<94/->==>+>/=7+8-978/A=    >/B+=>/+-2/<37:<9:<3/>C

    
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    ?63/ 2+81 !" $"   ! !#( # % # #! "" '2/ ?=>38 7/<3-+8&>+>/=7+8
/,<?+<C    2>>:=AAA=>+>/=7+8-97!*&   '/+-2/<=+--?=/.9037:<9:<3/>C90>/879@/>9
9>2/<=-2996=
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   B23,3>/>>/<90%/=318+>398

   +8/9//: 

    ?63/ 2+81 !" $"   ! !#( # % # #! "" '2/ ?=>38 7/<3-+8&>+>/=7+8
/,<?+<C    2>>:=AAA=>+>/=7+8-97!*&   '/+-2/<=+--?=/.9037:<9:<3/>C90>/879@/>9
9>2/<=-2996=


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=CB RCJ9FBCFF9;66CHH5@GCF9A5F?98CBH<98=GHF9GG=B;GH5H=GH=7GG5M=B;Q&=;3=4B6=A3

B3/163@A/@3<=B>@=A31CB32/<2E=@A3A=;3/@3A6C44:32=44B==B63@A16==:AB=1=<B7<C3

B3/167<57<=B63@/@3/AB6@3/B3<7<5=B63@972A*3/@3B63=<3AE7B6B632CBG/<2B63/07:7BG

B=2=A=;3B67<5/0=CB7B R

         ,<956CJ989ACBGHF5H9G>IGH<CKK=89GDF958H<9DFC6@9AC:H957<9FGHI89BHG9LI5@56IG9

=G=B,9L5G 9:9B85BH8=B6IF;!+79FH5=B@MKCI@8<5J9699B5K5F9C:H<=G85H5CFG<CI@8<5J9

699B5K5F9C:H<=G85H5=BCF89FHCA5?9DC@=7M7<5B;9GHCDFCH97HGHI89BHG:FCAG9LI5@DF985HCFG

5B8 M9H 8=B6IF; !+ 8=8 BCH 8C GC 75IG=B; "5B9 C9 HC 69 G9LI5@@M 5GG5I@H98 5B8 G9LI5@@M

<5F5GG986MF5B7=G7C58=@@CF9D95H98@M5GK9@@5G7CIBH@9GGCH<9F<9@D@9GG7<=@8F9BHC69G9LI5@@M

5GG5I@H985B8G9LI5@@M<5F5GG986MH957<9FGIB89F9:9B85BHTGK5H7< 

                                  )
     &'"%,"& #",!&'&'(!'&+(%&& !'
                           !&+((&

        F5B7=G7C58=@@C=GBCHH<9CB@M!+9AD@CM99HC<5J9G9LI5@@M<5F5GG98CF56IG985

GHI89BH =G7CJ9FM=BH<=G@=H=;5H=CB5B8(@5=BH=::TGCKBF9G95F7<F9J95@98H<9:C@@CK=B;588=H=CB5@

7CAD@5=BHG C: G7<CC@ 9AD@CM99 5;5=BGH GHI89BH G9LI5@ <5F5GGA9BH 5H !+  ,<=G @=GH =G 6M BC

A95BG7CADF9<9BG=J95GH<9F97CI@8695B8DFC656@M5F9A5BMACF9=B7=89BHGC:K<=7<(@5=BH=::

=GBCH5K5F9  @H<CI;<8=B6IF;!+<5GK=H<<9@8H<9=89BH=H=9GC:H<9H957<9FG=B=HG@=GH=H=G

7@95F:FCAH<985H9G5B87=F7IAGH5B79GH<5HH<9M5F9H<9G5A9=B7=89BHG5G@=GH98=BH<9,85H5 

,<9ACGH8=GHIF6=B;F9J9@5H=CB:FCAH<9G9=B7=89BHG=GH<5H8=B6IF;!+5@@CK98H<9A5>CF=HM

C:H<9H957<9FGHCF9G=;B:C@@CK=B;H<98=G7CJ9FMC:G9LI5@56IG95B8G9LI5@<5F5GGA9BH 


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
    
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    
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   >=29?6.,/9089>/>2+>#6+38>3002+.>919>91</+>6/81>2=>9+-;?3</>23=3809<7+>3980<97/0/8.+8>+=/0/8.+8>
2+.</0?=/.>9:<9.?-/>2/</6/@+8>-97:6+38>=+>>2/9?>=/>38</=:98=/>9#6+38>300H=.3=-9@/<C</;?/=>=89.9?,>38
+8+>>/7:>>9=23/6.3>=/600<9763+,363>C#6+38>3002+.>9036/+79>398>9-97:/6389<./<09</0/8.+8>>9:<9.?-/+
63=>90-97:6+38>=.38,?<1&2+=A+>/</..9A8>2/./=-<3:>39890>2/=/-97:6+38>=>97+5/>2/779</:+6+>+,6/


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          /B63@7<3!=@?C3AB 

         +H5FH=B;=B 5 M95FC@8H957<9F5H8=B6IF;&CFH< =;<+7<CC@C:8=B6IF;!+

B5A98 5H<9F=B9 &CFEI9GH 9B;5;98 =B =ADFCD9F G9LI5@ F9@5H=CBG K=H< <9F H<9B M95FC@8

GHI89BH% , %=GG&CFEI9GH9B;5;98=BG9LK=H<H<9A=BCFCBBIA9FCIGC775G=CBG=B7@I8=B;

CF5@G9L5B8=BH=A5H9HCI7<=B;C:<=G;9B=H5@G 88=H=CB5@@M&CFEI9GHKCI@8C:H9B9LDCG9<9FG9@:

HCH<9A=BCFCBBIA9FCIGC775G=CBG !B588=H=CBHCH<956CJ9A9BH=CB98G9LI5@57HGG<95@GC

DFCJ=8985@7C<C@HCH<9A=BCF5B8KCI@8H5?9<=A57FCGGH<96CF89FHC%9L=7CCBHF=DGK<9F9G<9

KCI@8<5J9G9LK=H<% , 5B8;=J9<=A5@7C<C@K=H<CIHH<9D5F9BHTG?BCK@98;9 

         /<=@9 5H G7<CC@ &CFEI9GH KCI@8 HCI7< H<9 A=BCF 5B8 <C@8 <=G <5B8  &CFEI9GH 5@GC

DFCJ=8985@7C<C@HCCH<9FA=BCFA5@9GHI89BHG !B588=H=CBHCH<9G9L57HG5B85@7C<C@&CFEI9GH

KCI@8G9B8BIA9FCIGG9LI5@@MGI;;9GH=J9@9HH9FGHCH<9A=BCF5B875@@H<9A=BCFCB585=@M65G=G

=BK<=7<H<9MKCI@89B;5;9=BG9LI5@@M;F5D<=77CBJ9FG5H=CBG 

         !B'7HC69F          5H<9F=B9&CFEI9GH7CB:9GG98HCH<9 =85@;CCIBHM9DIHM+<9F=::

5GK9@@5GHCHKC8=B6IF;&CFH< +C::=7=5@GH<95GG=GH5BHDF=B7=D5@5B8DF=B7=D5@H<5HG<9<585B

=BH=A5H9F9@5H=CBG<=DK=H<H<9A=BCFGHI89BH% , 

         % , 5B8 <=G :5H<9F *C69FH 9B898 ID :=@=B; 5 @5KGI=H =B         =B K<=7< 8=B6IF; !+

C::=7=5@GK9F9B5A985G9:9B85BHG577IG=B;H<9+7<CC@=GHF=7HC::=7=5@GC::5=@=B;HC8=G7=D@=B9

CFH9FA=B5H9&CFEI9GHF9H5=B=B;<9F5G5B9AD@CM995HH<9G7<CC@8=GHF=7H:CF5D9F=C8C:5@ACGH

:CIFACF9M95FG9J9B5:H9FH<9M<58699BA5895K5F9C:<9F7CB:9GG=CBC:7CAA=HH=B;:9@CBM

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
   B23,3>#6+38>300=%9,/<>'A3=>H=+8. +>>2/A'A3=>H=3<=>7/8./."<3138+6#/>3>398
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G9LI5@5GG5I@H  +<9H<9BHF5BG:9FF98HC( + "  !+=B(<5FF,9L5G  ,<9@5KGI=H5@GC7@5=AG

H<5HH<9=GHF=7HC::=7=5@G:5=@98HCF9DCFHH<9=B7=89BHGHCH<9+H5H9C5F8C:8I75H=CB:5=@98HC

A5?95F9DCFHHCH<9D5F9BHGC:% ,7<=@8DFCH97H=J9G9FJ=79G5B8HC5BMCH<9FD9FGCBCF@C75@@5K

9B:CF79A9BH 5;9B7M 5G F9EI=F98 6M @5K  ,<9 (@5=BH=::G =B H<9 @5KGI=H 7@5=A98 H<5H 8=B6IF;

!+G7<CC@C::=7=5@G8=856GC@IH9@MBCH<=B;HCDFCH97H% , :FCAH<97CBH=BI=B;DFC<=6=H98G9LI5@

<5F5GGA9BH6M%G &CFEI9GH 

         "A1/@=<H/:3H@ 

        'B96FI5FM            ,<9,9L5G8I75H=CB;9B7M7CAA9B798=HG79FH=:=75H=CBF9J=9K

C:'G75FCBN5@9N"F 77CF8=B;HCH<9DC@=79%F CBN5@9G5<=;<G7<CC@H957<9F5H8=B6IF;

!+69;5B5F9@5H=CBG<=DK=H<5 M95FC@8GHI89BH=B                H<5H@98HC?=GG=B;<I;;=B;5B8

=B5DDFCDF=5H9HCI7<=B; 

        %F  CBN5@9G K5G 9J9BHI5@@M 7<5F;98 K=H< H<9 +97CB89;F99 9@CBM C: =ADFCD9F

F9@5H=CBG<=DK=H<5GHI89BH5B8<9GIFF9B89F98<=GH957<=B;@=79BG9CBI;IGH                     85MG

5:H9F,CD9B98=HGF9J=9K 

            75C3:=<23A 

        !B%5F7<       %=;I9@CB89G5H<9B M95FC@8H957<9F5H 5FK9@@%=88@9+7<CC@C:

8=B6IF; !+ K5G 577IG98 C: G9LI5@ A=G7CB8I7H K=H< 5 H<9B M95FC@8 :9A5@9 GHI89BH 

CB89G<58H5?9BH<9:9A5@9GHI89BH:FCAG7<CC@=B<=GJ9<=7@9K<9F9<9G9LI5@@M5GG5I@H98H<9



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7/<3-+8&>+>/=7+8/,<?+<C   2>>:=:<94/->==>+>/=7+8-978/A=    >/B+=>/+-2/<37:<9:<3/>C
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A=BCF CB89GK5G5FF9GH989J9BHI5@@M7<5F;985B8:CIB8;I=@HMC:H<9+97CB89;F999@CBM

C: !ADFCD9F *9@5H=CBG<=D 9HK99B 8I75HCF 5B8 +HI89BH =B 979A69F                     ,<9 CIFH

G9BH9B798 CB89G HC       M95FGT DFC65H=CB 5B8 %F  CB89G GIFF9B89F98 <=G H957<=B; @=79BG9 CB

979A69F           85MG@5H9F5:H9FH<9,69;5B=HG79FH=:=75H=CBF9J=9KCBDF=@           

           %/G/<=@ 
              
          77CF8=B;HCH<9,9L5G8I75H=CB;9B7M*5M5BC"F <58ACGHF979BH@MKCF?98:CF

8=B6IF;!+K<9BH<9,CD9B98=HG79FH=:=75H=CBF9J=9KCB96FI5FM                      %F 5BC"F 

GIFF9B89F98<=GH957<=B;@=79BG9CB"IB9              >IGH5DDFCL=A5H9@M:CIFACBH<G@5H9F  9K5G

B9J9F7<5F;98 

                   30@C/@G  

          ,<9F9=G596FI5FM        =B7=89BHH<5H8=B6IF;!+8=G7@CG9G=B=HG@=GHC:7CAD@5=BHG

89G7F=6=B;5B=BJ9GH=;5H=CBH<5HF9J95@98H<5H5A5@9H957<9F<589B;5;98=B5FCA5BH=7F9@5H=CBG<=D

K=H<5GHI89BH ,<99AD@CM99F9G=;B9869:CF9H9FA=B5H=CB 

               716/3:=<@ 1/@B6G 
             
          %=7<59@"CB"F %75FH<M<58ACGHF979BH@MKCF?98:CF8=B6IF;!+K<9BH<9,

CD9B98=HG79FH=:=75H=CBF9J=9KCB96FI5FM               ,<9,C::=7=5@@MF9JC?98<=GH957<=B;

@=79BG9CB'7HC69F       CJ9FCB9M95F@5H9F 

                 30@C/@G  


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  B23,3>3=>9097:6+38>=90.38,?<1&7:69C//&>?./8>&/B?+6+<+==7/8>+8.==+?6>
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  9.C*38-2/=>/<+8.?63/2+81 # '"#!"$" ! !#(&#"#$#'2/?=>38
7/<3-+8&>+>/=7+8/,<?+<C   2>>:=:<94/->==>+>/=7+8-978/A=    >/B+=>/+-2/<37:<9:<3/>C
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             ,<9F9=G596FI5FM        =B7=89BHH<5H8=B6IF;!+8=G7@CG9G=B=HG@=GHC:7CAD@5=BHG

89G7F=6=B;5B=BJ9GH=;5H=CBH<5HF9J95@98H<5H5A5@9H957<9F<589B;5;98=B5FCA5BH=7F9@5H=CBG<=D

K=H<5GHI89BH ,<99AD@CM99F9G=;B9869:CF9H9FA=B5H=CB 

              3ACA/<73:/AB7::= 

             %F  5GH=@@C <58 ACGH F979BH@M KCF?98 5H 8=B6IF; !+ K<9B H<9 , CD9B98 =HG

79FH=:=75H=CBF9J=9KCBDF=@              9GIFF9B89F98<=GH957<=B;@=79BG9CB979A69F           

        85MG@5H9F 

              30@C/@G  

             B =BJ9GH=;5H=CB F9J95@98 H<5H 5 A5@9 H957<9F 5H 8=B6IF; !+ <58 HCI7<98 5 :9A5@9

GHI89BHTGG<CI@89FDIH<=G<5B8=B<9F7C5HDC7?9H5B8D5HH98<9FCBH<9GHCA57<5HG7<CC@ ,<9

9AD@CM99F9G=;B9869:CF9H9FA=B5H=CB 

               MA=;>:/7<B5/7<AB@/<17A1=/27::=

             A=BCF:9A5@9GHI89BH<58:=@985:CFA5@7CAD@5=BH5H*C69FH.9@5 =;<+7<CC@5;5=BGH

F5B7=G7C58=@@CK<9B<9DI@@98<9FCIHC:7@5GGHC8=G7IGGBI89D<CHC;F5D<GH<5H<9<58G99BC:

<9FH9@@=B;<9FG<9@CC?98B=79 ,<989H5=@GC:GI7<=B7=89BH5F98=G7IGG98:IFH<9F<9F9=B 

              &3FC/:AA/C:BA/<2&3FC/:/@/AA;3<B=4/<3=3

,<9=B7=89BHGC:"5B9C95F989G7F=698<9F9=B %F 58=@@CF9G=;B9869:CF9H9FA=B5H=CB 

              &3>B3;03@ 




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  B23,3>
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  9.C*38-2/=>/<+8.?63/2+81 # '"#!"$" ! !#(&#"#$#'2/?=>38
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           B=BJ9GH=;5H=CBF9J95@98H<5H5A5@998I75H=CB5@5=895H8=B6IF;!+7CAA9BH9856CIH

5GHI89BHTG6C8M5B89B7CIF5;98H<9GHI89BHHCG9B8D<CHC;F5D<GHC<=A ,<99AD@CM99F9G=;B98

69:CF9H9FA=B5H=CB 

            "1B=03@ 

           B =BJ9GH=;5H=CB F9J95@98 H<5H 5 A5@9 H957<9F 5H 8=B6IF; !+ :@=FH98 K=H< 5 :9A5@9

GHI89BH5B89L7<5B;98FCA5BH=7@9HH9FGK=H<<9F ,<99AD@CM99F9G=;B9869:CF9H9FA=B5H=CB 

            /<73:/@17/

           !B%5F7<      H<9DC@=795FF9GH985*C69FH.9@5 =;<+7<CC@H957<9FB5A985B=9@ 

5F7=5CB57<5F;9C:=B8979B7MK=H<57<=@8  ,<95FF9GHC:H<9.9@5 =;<+7<CC@H957<9F75A9

5:H9F 5 GHI89BH 5@9FH98 H<9 DF=B7=D5@ H<5H 5F7=5 <58 =B5DDFCDF=5H9@M HCI7<98 5 M95FC@8

7@5GGA5H9   ,<9 =B7=89BH H<5H @98 HC 5F7=5TG 5FF9GH C77IFF98 96FI5FM  K<9B <9 5@@9;98@M

QGHFC?98RH<9GHI89BHTG5FA5B8HCI7<98<9F6F95GHCJ9F<9F7@CH<=B;K<=@9H<9MK9F9=BG=89<=G

C::=79 .=89CGIFJ9=@@5B79G<CKGH<9GHI89BH9BH9F=B;5F7=5TGC::=79F9A5=B=B;H<9F9:CFCJ9F

      A=BIH9G 

          %F 5F7=5F9G=;B9869:CF9H9FA=B5H=CB 
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     966C&73>2 $!!#!!!"#!(&#"#$#'2/ 983>9< +<-2   
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             B=BJ9GH=;5H=CBF9J95@98H<5H5A5@9H957<9F5H8=B6IF;!+=ADFCD9F@MH9LH985:9A5@9

GHI89BHF9;5F8=B;5FCA5BH=7GC@=7=H5H=CB ,<99AD@CM99F9G=;B98DF=CFHCH9FA=B5H=CB 

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       !!'!(%&M& "'"!"%&(    %,( !'"!
                !"M&''+  (&'!

             ,=H@9!0C:H<98I75H=CBA9B8A9BHGC:  DFCJ=89G=BD9FH=B9BHD5FH
             
             3&4CD9FGCB   G<5@@CBH<965G=GC:G9L699L7@I898:FCAD5FH=7=D5H=CB=B6989B=98H<9
             69B9:=HG C: CF 69 GI6>97H98 HC 8=G7F=A=B5H=CB IB89F 5BM 98I75H=CB DFC;F5A CF 57H=J=HM
             F979=J=B;989F5@:=B5B7=5@5GG=GH5B79 

      - +  O  5 ,=H@9!0G<CI@869;=J9BQ5GK99D5G6FC585G=HG@5B;I5;9 R/13)"5&. %

/'%4$5 &,,- +                ,<9- + +IDF9A9CIFH9AD<5G=N9GH<9DFCD<M@57H=7

B5HIF9C:,=H@9!089G7F=6=B;5DF=B7=D@9C6>97H=J9C:H<9@5K=GQHCDFCJ=89=B8=J=8I5@7=H=N9BG

9::97H=J9DFCH97H=CB5;5=BGH38=G7F=A=B5HCFM4DF57H=79G R&#2&15"(/*23".%&0$) *23

  - +        G7<CC@ 9AD@CM99TG G9LI5@ 56IG9 CF <5F5GGA9BH 5;5=BGH 5 GHI89BH

7CBGH=HIH9G8=G7F=A=B5H=CBDFC<=6=H986M,=H@9!0 &&&(&#2&1 - + 5H 1".+,*.

56*..&33 /4.384#$) - +    &..*.(25.*5/'   8

H< =F          "8."1% 5 ",/.&   8          H< =F         (F=J5H9 57H=CBG :CF

ACB9H5FM85A5;9GA5M696FCI;<H5;5=BGH:989F5@:IB8F97=D=9BHGIB89F,=H@9!0:CF9AD@CM99

5;5=BGHGHI89BHG9LI5@<5F5GGA9BH &&1".+,*. - + 5H "../.5.*5/' )*$"(/ 

- +    

            ,C <5J9 5 J5@=8 ,=H@9 !0 75IG9 C: 57H=CB 957< C: H<9 :C@@CK=B; 9@9A9BHG AIGH 69

9GH56@=G<98   H<9 F97=D=9BH C: 989F5@ :=B5B7=5@ 5GG=GH5B79 <58 57HI5@ ?BCK@98;9 C: H<9

<5F5GGA9BH H<9<5F5GG9FK5GIB89FH<9F97=D=9BHTG7CBHFC@H<9<5F5GGA9BHK5G65G98CB

H<9J=7H=ATGG9LH<9<5F5GGA9BHK5GQGCG9J9F9D9FJ5G=J95B8C6>97H=J9@MC::9BG=J9H<5H=H

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     

     


                                                        
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9::97H=J9@M 65F3F984 H<9 J=7H=ATG 5779GG HC 5B 98I75H=CB5@ CDDCFHIB=HM CF 69B9:=HR 5B8  H<9

F97=D=9BHK5G89@=69F5H9@M=B8=::9F9BHHCH<9<5F5GGA9BH ".$)&25 "11/,,3/."1-&12 1".$)

.%&0$) *23  8   =F           

       ,<9=:H<=F7I=H<5G<9@8H<5H5G7<CC@8=GHF=7H<5G57HI5@?BCK@98;9C:H<9<5F5GGA9BH

K<9B=H?B9KH<5HQH<9F9K5G524#23".3*",1*2+H<5HG9LI5@56IG9KCI@8C77IF R )&.*&15 %/'

40&15*2/12'/13)&"82        - + =GH $0!+        5H       $5 I;IGH        

9AD<5G=G58898 

       9:9B85BH8C9GBCH8=GDIH99@9A9BHG CF !B:57H9:9B85BH8C9GBCH9J9B8=GDIH9

H<9G97CB8<5@:C:9@9A9BH =BH<5H8=B6IF;!+<5857HI5@?BCK@98;9C:"5B9C9TG5GG5I@H

:FCA <9F CIH7FM CB %5M         B8 =B8998 =H =G K=H<CIH EI9GH=CB H<5H 8=B6IF; !+ =G 5

F97=D=9BHC:989F5@:=B5B7=5@5GG=GH5B79%F 58=@@CH<9<5F5GG9FK5GIB89F8=B6IF;!+TG

7CBHFC@ H<9 <5F5GGA9BH K5G 65G98 CB H<9 "5B9 C9TG G9L 5B8 H<9 <5F5GGA9BH K5G GC G9J9F9

D9FJ5G=J95B8C6>97H=J9@MC::9BG=J9H<5H=H9::97H=J9@M65FF98H<9J=7H=ATG5779GGHC5B98I75H=CB5@

CDDCFHIB=HMCF69B9:=H5GH<99J=89B79A5?9G7@95F 

       8=B6IF; !+ 5F;I9G H<5H =H K5G BCH 89@=69F5H9@M =B8=::9F9BH HCK5F8G "5B9 C9TG

<5F5GGA9BH5B8H<5H=H8=8BCH?BCKH<5HH<9F9K5G5GI6GH5BH=5@F=G?H<5HG9LI5@56IG9KCI@8C77IF

5:H9FDF9J=CIG7CAD@5=BHGA5895;5=BGH58=@@C  9F9H<9D5FH=9G8=GDIH9K<9H<9FH<957HI5@BCH=79

F9EI=F9A9BHA5M69G5H=G:=986MD5GH7CAD@5=BHG:FCAGHI89BHGF9;5F8=B;G=A=@5FG9LI5@<5F5GGA9BH

5@@9;5H=CBG5;5=BGHH<9G5A9H957<9FCF=:9:9B85BHAIGH<5J9<5857HI5@BCH=79C:H<9GD97=:=7

57HGC:G9LI5@<5F5GGA9BH5;5=BGH(@5=BH=::<9FG9@: ,<9=:H<=F7I=H<5G:CIB8H<5H57HI5@BCH=79

75B69G5H=G:=986MD5GH7CAD@5=BHG:FCA8=::9F9BHGHI89BHGF9;5F8=B;G=A=@5FG9LI5@<5F5GGA9BH

5@@9;5H=CBG5;5=BGHH<9G5A9H957<9F<C@8=B;

        ,<9 CIFH BCH9G H<5H =B &#2&1 H<9 +IDF9A9 CIFH 8=8 BCH 9LD@=7=H@M F9EI=F9 57HI5@
        ?BCK@98;9C:H<9D5FH=7I@5F=BGH5B79C:<5F5GGA9BH7CAD@5=B98C:6M5D@5=BH=:: *5H<9F



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        H<9 +IDF9A9 CIFH :C7IG98 CB 5 G7<CC@TG 57HI5@ ?BCK@98;9 C: Q#"$   $
        "!$,# !" "#R 5B8 K<9H<9F H<9 G7<CC@ 589EI5H9@M F9GDCB898 HC Q9B8 H<9
        <5F5GGA9BHCFHC$%"$""##$ R&&&#2&15"(/*23".%&0$) *23 
         - +      

  )&.*&15 %/'40&15*2/12'/13)&"82           - + =GH $0!+  5H   $5 
I;IGH     9AD<5G=G58898 

       ,<9CIFH=B )&.*&17CBH=BI98CB<C@8=B;

        ,<9=:H<=F7I=H<5G<9@8H<5H5G7<CC@8=GHF=7H<5G57HI5@?BCK@98;9C:H<9<5F5GGA9BH
        K<9B=H?B9KH<5HQH<9F9K5G524#23".3*",1*2+H<5HG9LI5@56IG9KCI@8C77IF R!B:57H
        G9J9F5@ CH<9F 7CIFHG C: 5DD95@ 5B8 8=GHF=7H 7CIFHG <5J9 89H9FA=B98 H<5H ?BCK@98;9 C: 5
        <=GHCFM C: G=A=@5F G9LI5@ A=G7CB8I7H K=H< GHI89BHG A5M G5H=G:M H<9 57HI5@ BCH=79 DFCB; 
          =@3=D3@ / @3?C7@3;3<B B6/B /1BC/: <=B713 7A <=B >@=D7232 C<:3AA / C<7D3@A7BG
        @3137D3A / @3>=@B =4 A3FC/: 6/@/AA;3<B 4@=; B63 '7B:3 + >:/7<B744 63@A3:4 KE=C:2
        >@=B31B -C<7D3@A7B73A. 4@=; :7/07:7BG E63<3D3@ / ABC23<B E/A /0CA32 0G / B3/163@
        /:B6=C56B63-C<7D3@A7BG.;756B6/D36/2<=B713B6/BB63B3/163@6/2/0CA32=B63@
        ABC23<BA7<B63>/AB R

%5H 9AD<5G=G58898 
       
       !B )&.*&1 H<9 CIFH <9@8 H<5H (@5=BH=:: <58 DC=BH98 HC GI::=7=9BH 9J=89B79 HC 7F95H9 5

;9BI=B9 =GGI9 C: A5H9F=5@ :57H CB K<9H<9F 9:9B85BH <58 57HI5@ BCH=79 C: 8=G7F=A=B5H=CB =B =HG

DFC;F5AG H<FCI;< D5GH 5@@9;5H=CBG 5;5=BGH H<9 DFC:9GGCF  % ,<CG9 5@@9;5H=CBG =BJC@J98

=B5DDFCDF=5H97CAA9BHG %77CF8=B;@MH<9CIFH<9@8H<5H(@5=BH=::<58DC=BH98HCGI::=7=9BH

9J=89B79 HC 7F95H9 5 ;9BI=B9 8=GDIH9 C: A5H9F=5@ :57H 5G HC K<9H<9F 9:9B85BH <58 Q57HI5@

?BCK@98;9C:8=G7F=A=B5H=CB=BH<93=HG4DFC;F5AGRCF57HI5@BCH=79H<5HQH<9F9K5G5GI6GH5BH=5@

F=G?H<5HG9LI5@56IG9KCI@8C77IFRK<9BH<9F9<58699BD5GH7CAD@5=BHG56CIHH<9DFC:9GGCF6M

8=::9F9BHGHI89BHG % 9F9=BH<=G75G9=HK9BH69MCB8>IGH=B5DDFCDF=5H97CAA9BHG6M58=@@C

HCK5F8G % 5G5D5GH7CAD@5=BH  9K9BH5FCIB8H<9G7<CC@:CF 85MGG95F7<=B;:CF<9F5B8

GH5@?=B;<9FGH5@?=B;<9F:F=9B8GDI@@98<9FCIHC:7@5GGDI@@98<9F:F=9B8GCIHC:7@5GG;CH % 

5@CB95B8H5@?9856CIH<9FBI89D<CHC;F5D<GK<=7<<9G5=8QG<9@CC?98B=79 RB8H<9!+

5@GC?B9KH<5HH<9F9K5G:@=FH=B;69HK99B58=@@C5B8"5B9C9DF9J=CIG@M 




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
        IFH<9FACF9H<9'::=79:CF=J=@*=;<HG<5GA589=H7@95FH<5HK<=@9H<9F97=D=9BHAIGH

<5J957HI5@BCH=79C:H<99J9BHG7I@A=B5H=B;G9LI5@<5F5GGA9BHCFG9LI5@8=G7F=A=B5H=CBB63@37A

<=@3?C7@3;3<BB6/BAC16<=B713;CAB0357D3<0GB63D71B7;63@A3:4 !B5@9HH9F:FCAH<9

'::=79C:=J=@*=;<HG5B8H<9- + 9D5FHA9BHC:8I75H=CBK<=7<9LD@5=BGH<9F9EI=F9A9BHGC:

,=H@9!05B8DFCJ=89GG=;B=:=75BH;I=85B79HC989F5@:=B5B7=5@5GG=GH5B79F97=D=9BHG=HGH5H9G=B

F9@9J5BHD5FH

         *9;5F8@9GGC:E63B63@/6/@/AA32ABC23<B67A=@63@>/@3<B=@/B67@2>/@BG47:3A/
         1=;>:/7<B IB89F H<9 G7<CC@TG ;F=9J5B79 DFC798IF9G CF CH<9FK=G9 F9EI9GHG 57H=CB CB H<9
         GHI89BHTG 69<5@: / A16==: B6/B 9<=EA =@ @3/A=</0:G A6=C:2 9<=E /0=CB >=AA70:3
         6/@/AA;3<B ;CAB >@=;>B:G 7<D3AB75/B3 HC 89H9FA=B9 K<5H C77IFF98 5B8 H<9B H5?9
         5DDFCDF=5H9GH9DGHCF9GC@J9H<9G=HI5H=CB 
         
         ,<5H =G K<9B H<9 IB=J9FG=HM F979=J9G BCH=79 :FCA ".8/.& H<9 IB=J9FG=HM =G F9EI=F98 HC

F9GDCB8=AA98=5H9@M6MCD9B=B;5B=BJ9GH=;5H=CB5B8H5?=B;H<95DDFCDF=5H9GH9DGHC588F9GGH<9

A5HH9F &CH=79;=J9B6M5BMCB9BCH>IGHH<9J=7H=AG<5@@69589EI5H95B8=BG5H=G:57H=CBC:H<=G

9@9A9BH  9:9B85BH 8C9G BCH 89BM H<5H 57HI5@ BCH=79 K5G ;=J9B HC 5 G7<CC@ C::=7=5@ F9;5F8=B;

 % TG  7CAD@5=BH 5B8 "5B9 C9TG 7CAD@5=BH 588F9GG98 <9F9=B K<C <5G 5IH<CF=HM HC H5?9

7CFF97H=J9A95GIF9GCB=HG69<5@: 

      27<0C@5&/21BC/:!=B713
             
         !BCF89FHCG<CK57HI5@BCH=79(@5=BH=::K=@@89ACBGHF5H9H<9<=GHCFMC:DF=CF7CAD@5=BHG

A5895;5=BGH58=@@C5B86M58=@@C ,<9M5F95G:C@@CKG

                      @/27::='=:2AA7AB/<B#@7<17>/:@/<17A1=C;0@3@/AB6/B/<3=3
                        E/A:7@B7<5*7B67;





                                     

    B23,3>"%F/+<966/+1?//>>/<G+>: '23=6/>>/<A+=38/00/->+>>2/>37/90+8/9/H=+==+?6>+8.
3>A+=>2/:</@+36381</1?6+>398+>>2/>37/+8.+::63-+,6/>9.38,?<1&

     


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         77CF8=B; HC H<9 (+ !BJ9GH=;5H=CB *9DCFH 5B8 %F  58=@@CTG .C@IBH5FM +H5H9A9BH

F9;5F8=B;"5B9C9TG!B7=89BH%F 58=@@CG5=8H<5H5:9KK99?GDF=CFHC"5B9C9TGCIH7FM<9

<58BCH=:=98F5B7=G7C$IA6F9F5G<=GGID9FJ=GCFH<5H<9K5G;9HH=B;H<9:99@=B;H<5H"5B9C9K5G

"$K=H<<=A<5B;=B;5FCIB8<=G7@5GG5@CH5B8H5?=B;D<CHC;F5D<GC:<=A5B8<=GK=:9 

        ,<=G 8=G7@CGIF9 G<CI@8 =AA98=5H9@M <5J9 F5=G98 5 F98 :@5; K=H< %F  $IA6F9F5G H<5H

GCA9H<=B;KFCB;K5GC77IFF=B;69HK99B"5B9C95B858=@@C  HH<9J9FM@95GHH<9+7<CC@

G<CI@8<5J97CB8I7H985B=BJ9GH=;5H=CB=BHCH<9A5HH9F  CK9J9FBC:IFH<9F57H=CBK5GH5?9B5B8

%F 58=@@CF9A5=B98CB75ADIG89GD=H9H<=G7CAD@5=BH  

                    '63=;>:/7<B0GAA7AB/<B#@7<17>/:%=A/ /@7/3@</:5/7<AB/27::=

         GG=GH5BH(F=B7=D5@*CG5%5F=59FB5@<58F9DCFH98<9F7CB79FBG56CIH58=@@CDCGG=6@M

69=B;CB8FI;GHC%F $IA6F9F5GDF=CFHC"5B9C9TG5GG5I@H +<9G5=8H<5HG<969@=9J98<9K5G

CB8FI;G6975IG9%F 58=@@CG<CK98IDHC5A99H=B;9LHF9A9@M@5H9@CC?=B;9L<5IGH985B8K=H<

6@CC8 G<CH F98 9M9G  CK9J9F H<9 K5M H<=G 7CAD@5=BH K5G <5B8@98 5G =G 8=B6IF; !+TG

AC8IG CD9F5B8= =G $IA6F9F5G 5DD5F9BH@M QGDC?9 K=H< <=A 5B8 H<9F9 K5G BCH<=B;R 5B8 %F 

$IA6F9F5GH<9B=B:CFA98%G 9FB5@H<5HG<9K5GQKFCB;R %F $IA6F9F5GB9J9F9LD@5=B98HC

%G 9FB5@<CKCFK<MG<9K5GKFCB; ,<5HK5GH<99LH9BHC:H<9=BJ9GH=;5H=CB577CF8=B;HC

%G 9FB5@ %G 9FB5@G5=8H<5HH<=GQ=BJ9GH=;5H=CBRG<CI@8<5J9699B8C7IA9BH98CB5D=979




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    B23,3>#&8@/=>31+>398%/:9<>: &//B23,3>)96?8>+<C&>+>/7/8>90<+8-3=-9+.3669

    '23=+<1?7/8>19/=+1+38>9A+<.=>2/6+-5+8.9<38+./;?+-C90><+3838109<./>/->39890=/B?+6+,?=/+>.38,?<1
&?></1+<.6/== <?7,</<+=./0383>/6C58/A>23=A+=+</.06+1+8.=29?6.2+@/.98/+838@/=>31+>398:/<
>2/6+A+8.<?6/=
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    B23,3>
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C:D5D9F5B87CAAIB=75H98HCH<9DF=B7=D5@  CK9J9F8=B6IF;!+:5=@98HC=B7@I89H<=G

7CAD@5=BH=B%F 58=@@CTGD9FGCBB9@:=@9H<5H=HDFC8I798=B8=G7CJ9FM 

                     '63=;>:/7<B0G 5/7<AB/27::=7<>@7: 

         'B9C:H<9ACGH85AB=B;D=979GC:9J=89B79HC9A9F;9:FCAH<=G75G9=GH<97CAD@5=BH

A5896M % 5A=BCFGHI89BH5H*C69FH.9@5 =;<+7<CC@5;5=BGHF5B7=G7C58=@@CCBDF=@ 

      9J9BHI5@@M7C8=:=98=B5B!B:CFA5H=CB*9DCFH6MH<98=B6IF;!+(C@=799D5FHA9BH 

         'BDF=@          69:CF9"5B9C9TG7CAD@5=BHCB%5M                   % 5B85BCH<9F:9A5@9

GHI89BH5DDFC57<985DC@=79C::=79F5H*C69FH.9@5 =;<+7<CC@HCA5?95:CFA5@7CAD@5=BH5;5=BGH

5A5@9H957<9FK<CK5G58=@@C  ,<9C::=79FH<9B9G7CFH98H<9HKCGHI89BHGHCG99GG=GH5BH

(F=B7=D5@ "9BB=:9F I@69FHGCB K<C 58J=G98 I@69FHGCB H<5H H<9 GHI89BHG K=G<98 HC :=@9 5

7CAD@5=BH  !BH<9*9DCFH=HGH5H9GH<5H58=@@C<58699B;C=B;5FCIB8H<9G7<CC@5B8=BHC % TG

7@5GG9G@CC?=B;:CF<9F5@@85M5B8<58699B5G?=B;56CIH % :CFH<90"23%"82 58=@@C?9DH

658;9F=B; %TG:F=9B85G?=B;<9FHCH9LH % HCH9@@<9FH<5H<9B99898HCH5@?K=H<<9F  

B3AB74732B6/B/27::=6/2/:A=!%"$' "# %$ $"###/<25=BB63;/:=<3B=

/A9/0=CB63@58=@@CJ=G=H98 %TGG97CB8D9F=C87@5GGCBDF=@                         5B8DI@@98<9FCIHC:

7@5GG /CFG958=@@CK5GBCH % TGH957<9F5HH<9H=A9 /CFG9M9H58=@@C8=8BCHDI@@ % 

CIH C: 7@5GG :CF 5BM @9;=H=A5H9 DIFDCG9  3 >C::32   =CB =4 1:/AA B= 27A1CAA <C23

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     +>  
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    /0/8.+8>383>3+66C</=:98./.F898/G>9#6+38>300H=</;?/=>09<>2/003.+@3>90 A23-2#6+38>3002+.</;?/=>/.
38.3=-9@/<C>A+=986C+0>/<#6+38>300:<9.?-/.+=318/../-6+<+>3980<97 >2+>/0/8.+8>038+66CF09?8.G+8.
:<9.?-/. >2/ 3809<7+>398 </:9<> +8. +003.+@3> A23-2 A+= /B></7/6C :/<>38/8> >9 #6+38>300H= -+=/ ?<>2/< >2/
809<7+>398%/:9<>A+=89>38-6?./.38 <+.3669H=:/<=988/6036/
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    B23,3>809<7+>398%/:9<>: 
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>6=B=5@/>6A=463@B6/BA63AC>>=A32:G6/2=<&</>16/B 58=@@CHC@8 % G<9<58Q $

$ # %$R5B8H<5HQ#             R  % GH5H98H<5HG<98=8BCH?BCKK<5H<9

K5GH5@?=B;56CIH5B8:9@HJ9FMIB7CA:CFH56@9  

         %F 58=@@CHC@8<=GGID9FJ=GCFF5B7=G7C$IA6F9F5GH<5H<9K5GQ7CB79FB98R:CF %  

 %  H9GH=:=98 H<5H G<9 ?B9K H<5H 58=@@C K5G BCH Q7CB79FB98R :CF <9F 5H 5@@ 5B8 ?B9K <=G HFI9

=BH9BH=CBGK<=7<K9F9HC8CGCA9H<=B;G9LI5@K=H<<9F +<9H<CI;<H<9K5G5D98CD<=@95:H9F<9

A589 H<CG9 F9A5F?G HC <9F 5B8 =AA98=5H9@M BCH=798 =H 5G 5 F98 :@5;  !: %F  58=@@C K5G GC

7CB79FB98:CF<9FH<9B<9G<CI@8<5J95DDFC57<985B58A=B=GHF5HCFBCH5A=BCF7<=@8  % 

H9GH=:=98 H<5H K<9B %F  58=@@C HC@8 <9F G<9 Q@CC?98 B=79R G<9 G5=8 H<5H G<9 ?B9K <9 K5G

7CAA9BH=B;CB<9F6C8M5B8<9FD<MG=75@5DD95F5B79  % H9GH=:=98H<5H5G58=@@CG5=8H<9G9

F9A5F?G<9@CC?98<9FID5B88CKBK=H<5:@=FH5H=CIGGA=F?CB<=G:5795B8ACJ98=BJ9FM7@CG9

HC<9F  9A589GIF9HC;9H % 5@CB9K<9B<9A589H<9G9F9A5F?G5B8A589GIF9BCCB99@G9

K5G 5FCIB8  ,<=G 7CB8I7H IDG9H  %  GC AI7< H<5H G<9 :9@H H<5H G<9 <58 HC A5?9 5 :CFA5@

7CAD@5=BH !:57<=@8?BCKG9L57H@MK<5H58=@@CTG=BH9BH=CBG5F9H<9B79FH5=B@MH<9+7<CC@:=@@98

K=H<58I@HGH<5H=G7<5F;98K=H<DFCH97H=B;H<5H7<=@8:FCA<5FA?B9KH<5H58=@@CK5GBCH57HI5@@M

Q7CB79FB98R:CF % ,<9+7<CC@?B9KH<5H58=@@CK5GBCH57HI5@@MQ7CB79FB985H5@@R6IHK5BH98

HC <5J9 G9LI5@ F9@5H=CBG K=H<  %  ,<9 +7<CC@TG 7@5=AG HC H<9 7CBHF5FM =B 5 89GD9F5H9 6@5H5BH



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      /:  82/<./:9=3>398 >/=>303/.>2+>=2/A+=F63>/<+66C=2+5381G+0>/<>2385381,+-5
982/<38-3./8>A3>2+.3669&2/0/6>F.3=1?=>/.G>A+=F.3=1?=>381G&2/A+=@/<C+0<+3.
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    B23,3>
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     /:      +8.  
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5HH9ADHHCG5J9:579=BH<9:579C:5@5KGI=HPJ=575BB98F9GDCBG9G:CF89DCG=H=CBH9GH=ACBMP5F9

:F5B?@M@5I;<56@9 HCB9DC=BH=B % TG89DCG=H=CB9:9BG97CIBG9@9J9B5G?98<9F=:A5M69

58=@@CK5GH9@@=B; % H<5HQMCI@CC?@=?95B=79D9FGCB R%G $989GA5D5FFCH98H<=GG5A9

F9<95FG98@=B9=B<9F89DCG=H=CB5HCB9DC=BH  

         !BGH958 C: :=F=B; CF GIGD9B8=B; %F  58=@@C 5@@ H<5H <5DD9B98 K5G GG=GH5BH (F=B7=D5@

F5B7=G7C$IA6F9F5GQ58J=G9858=@@CH<5H<9=GHC58J=G95B58A=B=GHF5HCF69:CF95DDFC57<=B;5BM

GHI89BHR5B8H<9BQ58=@@CK5GF9@95G98657?HC<=G8IH=9G5GD9F%F $IA6F9F5G R J9BH<CI;<

%F $IA6F9F5GH9GH=:=98H<5H<9?B9K=HK5G=B5DDFCDF=5H9D=7HIF9GQCFK<5H9J9FR58=@@CK5BH98

HC8=G7IGGK=H< % &CCH<9F57H=CBGK9F9H5?9B &C9LHF5GID9FJ=G=CB &C588=H=CB5@G9LI5@

<5F5GGA9BH HF5=B=B;  &C H9FA=B5H=CB  &C GIGD9BG=CB  ,<9 +7<CC@ 8=8 BCH F9DCFH H<9 =B7=89BH HC

,9L5G 9D5FHA9BH C: 5A=@M 5B8 (FCH97H=J9 +9FJ=79G 5G F9EI=F98 6M @5K 5B8 H<9 AD@CM99

    5B86CC? &CH<=B; ,<9+7<CC@8=8BCH5@9FHH<9GH5::CFH<9H957<9FG56CIHH<=G7CAD@5=BH ,<9

+7<CC@8=8BCH5@9FHH<9GHI89BH6C8M56CIHH<=G7CAD@5=BH "5B9C9H9GH=:=98G<9KCI@8<5J9

@=?98HC<5J9?BCKB56CIH % TG7CAD@5=BH ,<9+7<CC@8=8BCH5@9FHCH<9FD5F9BHG56CIHH<=G

7CAD@5=BH &C58A=B=GHF5HCF5HH<9G7<CC@EI9GH=CB98CH<9F:9A5@9GHI89BHGHCG99=:H<9M<58

9LD9F=9B798G=A=@5F7CB8I7HK=H<%F 58=@@C %F 58=@@CK5G:F99HC7CBH=BI9DF9M=B;CB5B8

G9LI5@@M5GG5I@H=B;A=BCFGHI89BHG %F 58=@@CK5G:F99HC7CBH=BI9DI@@=B;A=BCFGCIHC:H<9=F

7@5GG9GK=H<BC5DDFCJ5@5B8BC@9;=H=A5H9F95GCBGK<CK9F9BCH9J9B<=GGHI89BHG 


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     +>   03<76C</:63/.F89G>9/0/8=/-9?8=/6H=;?/=>398
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    B23,3> /:9=3>39890<+8-3=-9?7,</<+=    
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        =@;3@AA7AB/<B#@7<17>/:3<<743@C:03@BA=<B3AB74732B6/BE6/B/27::=272E7B6

 E/A!!" !"$/<2" 227B7=</::G AC:03@BA=</2;7BB32B6/BB634/1B

B6/B   @/27::=E/A<=B47@32=@ACA>3<232/4B3@B67A7<1723<BE7B6 23;=<AB@/B32/

;/8=@>=:71G>@=0:3; AA7AB/<B#@7<17>/:3@</:B3AB74732B6/BB637<1723<BE7B6 E/A

@3/::G1@33>G/<227ABC@07<5/<2B6/B>3@A=</::GA63E=C:26/D32=<3;=@3B6/<8CAB57D3/

D3@0/:27@31B7D3 A3@</:/:A=B3AB74732B6/B/A/>/@3<BA63E=C:26/D3033<D3@GC>A3B

/<27<1@3270:G1=<13@<320G @/27::=MA036/D7=@B=E/@2A63@167:2 B3AB74732A63

E/A<=BAC@>@7A32B6/B/27::=3D3<BC/::G4=@13267;A3:4=<A=;3=<3/4B3@63@1=;>:/7<B

        9:9B85BHGH5H9G=B=HG%CH=CBH<5HH<97CAD@5=BHK5GQ588F9GG985B8F9GC@J985GG<CKB

6M H<9 GHI89BHTG CKB H9GH=ACBMR  '67A AB/B3;3<B 7A 7< 4/1B 7< 27@31B 1=<B@/AB B=  MA

B3AB7;=<G % H9GH=:=98H<5HH<9+7<CC@B9J9F;5J9<9F57CDMC:H<9!B:CFA5H=CB*9DCFHCF<9F

5::=85J=H5B8G<9B9J9F9J9B?B9KH<5H5B!B:CFA5H=CB*9DCFH9L=GH985GBCCB95HH<9+7<CC@

A589 <9F 5K5F9 C: =H  +<9 G5=8 H<9 +7<CC@ G<CI@8 <5J9 ;=J9B <9F 5 7CDM C: H<9 F9DCFH 5B8

5::=85J=H ,<9+7<CC@B9J9FHC@8<9FCF<9FD5F9BHGH<5HH<97CAD@5=BH<58699BQF9GC@J98R5G

F9EI=F986MH<9AD@CM99 5B86CC?GCH<9D5F9BHGA5M<5J9<5857<5B79HC5DD95@ *9;5F8@9GG

G<969@=9J9GH<5HH<9+7<CC@8=8<=BF9GC@J9H<97CAD@5=BH +<969@=9J98H<5H%F 58=@@CG<CI@8

<5J9699B:=F98CBH<9GDCHCFGIGD9B898:CF<9F=B7=89BH   % H9GH=:=98H<5HH<9+7<CC@8=8BCH

H5?9<9F7CAD@5=BHG9F=CIG@MBCCB95HH<9+7<CC@:C@@CK98IDK=H<<9F5:H9F<9F=B=H=5@7CAD@5=BH


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    B23,3>"/:9=3>39890/8830/<?6,/<>=98    
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H<9+7<CC@K5GBCH5HH9BH=J9HC<9F7CB79FBG5B8G<969@=9J98H<9+7<CC@K5GHFM=B;HCGK99D<9F

7CAD@5=BH IB89F H<9 FI;   !B :57H G<9 G5=8 H<5H 8=B6IF; !+ <58 5 @CB; GCF8=8 <=GHCFM C:

GK99D=B;H<=B;GIB89FH<9FI; 7CAD@9H9@57?C:HF5BGD5F9B7MCBH<9G7<CC@TGD5FHD9F<9F

H9GH=ACBM  % H9GH=:=98H<5H<58%F 58=@@C699B:=F985:H9F<9F=B7=89BHH<9B"5B9C9KCI@8

BCH<5J9699BF5D98F9D95H98@M6M58=@@CCB75ADIG5B8C::75ADIG +<9H9GH=:=98H<5HH<9

+7<CC@ 8=8 BCH 8C 5BMH<=B; HC DF9J9BH %F  58=@@C :FCA 8C=B; GCA9H<=B; =B5DDFCDF=5H9 K=H<

5BCH<9FGHI89BH  % H9GH=:=98H<5HK<9BH<95@@9;5H=CBGC:G9LI5@5GG5I@H6M"5B9C95;5=BGH

58=@@C6975A9DI6@=7 % K5GBCHGIFDF=G985H5@@  % <CD9GH<5H>IGH=79=GG9FJ98K=H<H<=G

@5KGI=H 

        %G  $989GA5 A589 5 89@=69F5H9 A=GF9DF9G9BH5H=CB HC <=@8 (FCH97H=J9 +9FJ=79G K<9B

+D97=5@ !BJ9GH=;5HCF *CM GHF585 GDC?9 K=H< <9F F9;5F8=B; "5B9 C9TG =B7=89BH GH5H=B; H<5H

QF5B7=G7C58=@@C<58BCDF9J=CIG<=GHCFM=BF9;5F8GHC=B5DDFCDF=5H969<5J=CFHCK5F8G5GHI89BH

BCF8C9G<9<5J95BM8=G7=D@=B5FMF9DF=A5B8G5;5=BGH<=A R,<=GGH5H9A9BHK5G=B:57H:5@G9 %G 

$989GA5 H9GH=:=98 H<5H H<9 F95GCB G<9 A589 H<=G GH5H9A9BH K5G H<5H HC <9F ?BCK@98;9 H<9

Q=BJ9GH=;5H=CBR7CB7@I898H<5HBCH<=B;=B5DDFCDF=5H9<5DD9B98K=H< % 6IH=BH<9G5A9J9=B

58A=HH98H<5H '"=BH<9=B:CFA5H=CBF9DCFH8=8=HGH5H9H<5HBCH<=B;=B5DDFCDF=5H9C77IFF98 

%G $989GA5K5G>IGHQHC@8RCB795;5=B:FCA%F $IA6F9F5GH<5HH<9F9K5GBC=B5DDFCDF=5H9

69<5J=CF  %G $989GA55@GC58A=HH98H<5HG<98=8<=B=B:CFA(+56CIHH<97CAD@5=BHA5896M



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 %K<9B(+GDC?9HC<9F  B8=B:57H(+:CIB8CIHF5H<9FEI=7?@M6M=HG9@:H<5HH<9F9K5G

5 7CAD@5=BH A589 DF9J=CIG@M 5;5=BGH 58=@@C 5:H9F GD95?=B; K=H< %G  $989GA5    (+ 5@GC

7CB7@I898H<5HH<9F9K5GQF95GCBHC69@=9J9RH<5HG9LI5@56IG98=8C77IF  

            'BH<9G9:57HG5F95GCB56@9>IFM7CI@8:=B8H<5HH<9IB=J9FG=HMK5G89@=69F5H9@M=B8=::9F9BH 

CFH<9+7<CC@HC7CBG=GH9BH@MA5=BH5=BH<5H=H8=8BCH<5J957HI5@?BCK@98;9C:8=G7F=A=B5H=CB=B

=HGDFC;F5AG=GCIHF=;<H8=G=B;9BICIG=B@=;<HC:H<9CJ9FK<9@A=B;9J=89B795B8:F5B?@M5B=BGI@H

HC"5B9C9 % 5B87CIBH@9GGCH<9FJ=7H=AGK<C<5J99LD9F=9B798G9LI5@5GG5I@H5B8G9LI5@

<5F5GGA9BH5H8=B6IF;!+ (@5=BH=::<5GG5H=G:=985@@H<99@9A9BHGC:<9F,=H@9!07@5=ACF5H

H<9 J9FM @95GH (@5=BH=:: <5G 79FH5=B@M F5=G98 5 ;9BI=B9 =GGI9 C: A5H9F=5@ :57H <9F9  9:9B85BHTG

5F;IA9BHG:5=@ ,<9F9:CF99:9B85BHTG%CH=CB:CF+IAA5FM"I8;A9BH5GHC(@5=BH=::TG,=H@9!0

7@5=AAIGH6989B=98 

                  #@7=@&3FC/:AA/C:B/<2&3FC/:/@/AA;3<B/B27<0C@5&/A3A1@7032
                    7<&31B7=<
            
           !B588=H=CBHC % TG7CAD@5=BH58=@@CTGF9DCFHHC%F $IA6F9F5G5B8%G 9FB5@TGF9DCFH

HC %F  $IA6F9F5G 8=B6IF; !+ <5G 5 @CB; <=GHCFM C: G9LI5@ 5GG5I@H 5B8 G9LI5@ <5F5GGA9BH

7CAD@5=BHGA5895;5=BGHH957<9FG5G89H5=@9856CJ9=B+97H=CB!!!GIDF5 

           ,<9G9DF=CF5GG5I@HG5B8<5F5GGA9BH;CHCK5F8GG<CK=B;57HI5@BCH=79D9FH<9=:H<=F7I=H 

8=B6IF; !+ 79FH5=B@M <58 57HI5@ BCH=79 C: Q8=G7F=A=B5H=CB =B =HG DFC;F5AGR 5B8 M9H K5G

89@=69F5H9@M=B8=::9F9BHHCH<98=G7F=A=B5H=CB5B8<5F5GGA9BH &&&#2&15"(/*23".%&0$)

     *23  - +      

           ,<9F9:CF98=B6IF;!+ACGH89:=B=H9@M<5857HI5@BCH=79CF5HH<9J9FM@95GH(@5=BH=::

<5GF5=G985;9BI=B9=GGI9C:A5H9F=5@:57HF9B89F=B;GIAA5FM>I8;A9BH=ADFCD9F 

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         !H=GK9@@9GH56@=G<98H<5HH<9I9(FC79GG@5IG9C:H<9 H<A9B8A9BHDFCH97HGH<9F=;<H

C:57<=@8HC69:F99:FCAG9LI5@56IG9=B:@=7H986M5G7<CC@H957<9FCF9AD@CM99 &&&( /&5

"8,/1! +    8 H<=F   /&#8 /&5*,,2#/1/.%&0$) *23   8

      H<=F   /&5 &"4-/.3  +IDD  8   ,9L  

Q'6J=CIG@MH<9F5D9C:5GHI89BH6M5G7<CC@9AD@CM99EI5@=:=9G5GD<MG=75@G9LI5@56IG95B85G

5J=C@5H=CBC:CB9TG6C8=@M=BH9;F=HMR 

           9F9=H=GIB8=GDIH98H<5H%F 58=@@CK5G5B9AD@CM99C:*C69FH.9@5 =;<+7<CC@C:

8=B6IF;!+5B8<9G9LI5@@M56IG98"5B9C95*C69FH.9@5 =;<+7<CC@GHI89BHCB5B8C::

G7<CC@DFCD9FHM ,<9F9=GBCEI9GH=CB"5B9C9TG7CBGH=HIH=CB5@F=;<HGK9F9J=C@5H98 9:9B85BH

8C9GBCH5B875BBCH7CBH9B8CH<9FK=G9 

         CF 897589G H<9 - +  +IDF9A9 CIFH 5B8 - +  9D5FHA9BH C: 8I75H=CB <5J9 BCH=:=98

G7<CC@G=B7@I8=B;8=B6IF;!+C:H<9IB5779DH56@9DF9J5@9B79C:GHI89BHG9LI5@5GG5I@HH<9

9LHF5CF8=B5FM<5FA7<=@8F9BGI::9F:FCAG7<CC@9AD@CM99G9LI5@56IG95B8G7<CC@GT8IH=9GHCH5?9

DFC57H=J9A95GIF9G5B8DFCH97HH<9=FGHI89BHG:FCAG9LI5@J=C@9B795B8<5F5GGA9BH !B H<9

- +  +IDF9A9 CIFH GH5H98 Q3H4<9 BIA69F C: F9DCFH98 75G9G =BJC@J=B; G9LI5@ <5F5GGA9BH C:

GHI89BHG =B G7<CC@G 7CB:=FAG H<5H <5F5GGA9BH IB:CFHIB5H9@M =G 5B 5@@ HCC 7CAACB 5GD97H C: H<9

98I75H=CB5@ 9LD9F=9B79 R &#2&1 5 "(/ *23" .%&0 $) *23    - +        !B

        H<9 - +  9D5FHA9BH C: 8I75H=CB '* =GGI98 &5*2&% +9LI5@ 5F5GGA9BH I=85B79

F9;5F8=B;<5F5GGA9BHC:GHI89BHG6M*.3&1",*"G7<CC@9AD@CM99G  ,<9I=85B79A5897@95F


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   (&/:+<>7/8>90.?-+>398"%%/@3=/.&/B?+6+<+==7/8>?3.+8-/+<+==7/8>90&>?./8>=,C&-2996
7:69C//= ">2/< &>?./8>= 9< '23<. #+<>3/= *+=2381>98    F   ?3.+8-/ +@+36+,6/ +>
2>>:=AAA /.19@+,9?>9003-/=63=>9-<.9-==21?3./2>76


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G7<CC@G5F9F9GDCBG=6@9:CFH5?=B;DFCADH5B89::97H=J957H=CBHCGHCD5B8DF9J9BHH<9F97IFF9B79

C:5G7<CC@9AD@CM99TGG9LI5@<5F5GGA9BHC:5GHI89BH  ,<9'::=79:CF=J=@*=;<HGQ'*R

5@GC GH5H98 QG7<CC@G B998 HC 9BGIF9 H<5H 9AD@CM99G 5F9 HF5=B98 GC H<5H H<CG9 K=H< 5IH<CF=HM HC

588F9GG<5F5GGA9BH?BCK<CKHCF9GDCB85DDFCDF=5H9@M5B8CH<9FF9GDCBG=6@99AD@CM99G?BCK

H<5H H<9M 5F9 C6@=;5H98 HC F9DCFH <5F5GGA9BH HC 5DDFCDF=5H9 G7<CC@ C::=7=5@G   ,F5=B=B; :CF

9AD@CM99G G<CI@8 =B7@I89 DF57H=75@ =B:CFA5H=CB 56CIH <CK HC *%&.3*'8 <5F5GGA9BH 5B8 5G

5DD@=756@9H<9D9FGCBHCK<CA=HG<CI@869F9DCFH98 R 

         &/2!=#=:71G%3?C7@7<5&BC23<B11=C<B/07:7BG=@#@3D3<B7<5/&B/44
             3;03@:793/27::=4@=;37<534B:=<3E7B6/67:24=@=<5#3@7=2A=4'7;3

           HH<9H=A9C:"5B9C9TG5GG5I@HGH<9=GHF=7H<58BCDC@=7MF9EI=F=B;H<9G7<CC@CFH957<9F

HC577CIBH:CFH<9K<9F956CIHGACB=HCFH<9K<9F956CIHGC:H<97<=@8F9BCF588F9GGH<9=F56G9B79

IB89FH<9=F7<5F;95GG99B69@CK:FCA8=G7CJ9FMF9GDCBG9G 

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!B8998GG=GH5BH(F=B7=D5@*CG5%5F=59FB5@58A=HH98=B<9F89DCG=H=CBH<5H=:5D5F9BH75@@98H<9

G7<CC@5B8K5BH98HC?BCKH<99L57HK<9F956CIHGC:<9F7<=@8K<9B5H957<9FK<CK5GBCHH<9


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7<=@8TGH957<9F<58DI@@98H<9GHI89BHCIHC:7@5GGH<9B%G 9FB5@KCI@8<5J9HCH9@@H<9D5F9BH

H<5HG<98=8BCH?BCKH<9@C75H=CBC:H<5HD5F9BHTG7<=@88I9HC5@57?C:DC@=7M  %G 9FB5@

58A=HH98H<5HH<9F9G<CI@8695DC@=7M588F9GG=B;H<=G=GGI9

           ) 1%* -2+C!TAHFM=B;HC5G5
           D5F9BH!TJ975@@98MCI5B8!TJ95G?98MCIQ/<9F9=GAM
              7<=@8RB8MCIF5BGK9F=GQ!8CBCH?BCKRHFI9
               ,<5H=G7CFF97H 
              ) ,<5HTGMCIF5BGK9F
             ,<5H=G7CFF97H 
            $<2/::G=C1/<B3::;37A;G167:2B6/B;G
            B3/16B63B3/163@;G167:2MAB3/163@:3B63@03
            B/93<=CB=41:/AA0GA=;3@=D7<5@=0=B71A>@=43AA=@/<2
           G=C2=<MB9<=EE63@363B==963@=BB=;:7<3B6/BMA
           E6/BG=CE=C:26/D3B=B3::;3@756B
           =@@31B
            $<2B63@37A<=>=:71G7<>:/13B6/BE=C:2
            >@3D3<B63@037<5>C::324@=;1:/AA:793B6/B*3MD3
              /:@3/2G3AB/0:7A632B6/B6/D3<MBE3
              ,3A
            ) B8H<9F9G<CI@869G<CI@8BTHH<9F9
            %* *2'6>97H=CB:CFA 
            ) 1%* -2!A95B!?BCK=HTG<5F8HC
            58A=H=HA5T5A IHH<9F9G<CI@869G<CI@8BTHH<9F9
            CFH<9G5:9HMC:H<9GHI89BHG 
           ) 19G 
            CFH<9G5:9HMC:5BM6C8M 
            $'6/BMAB63/<AE3@M;:==97<54=@'63@3
           A6=C:203@756B
           ,3A 

&C D5D9FKCF? K5G F9EI=F98 HC F9ACJ9 5 7<=@8 :FCA H<9 7@5GG   &C DC@=7M F9EI=F98 GI7<  ,<9

+7<CC@KCI@8>IGHQ<CD9RH<5HH<9H957<9FGK=@@:C@@CKH<9QJ9F65@=N98RDC@=7M  &CFK5GH<9F95

DC@=7MDF9J9BH=B;5H957<9FPCF5BMCH<9FGH5::A9A69F:CFH<5HA5HH9FP:FCAH5?=B;5GHI89BHCIH

C:H<97@5GGK=H<CIHKF=HH9B5IH<CF=N5H=CB  B85HH<9H=A9!+<58BCDC@=7MDF9J9BH=B;5


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      /<8+6/:  
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       
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       +> 
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       


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GH5:: A9A69F @=?9 58=@@C :FCA 69=B; @9:H 5@CB9 :CF @CB; D9F=C8G C: H=A9 K=H< 5 7<=@8 K=H<CIH

GID9FJ=G=CB  %G $989GA558A=HH98H<5HH<=GDC@=7MG<CI@8<5J9699B=BD@579  IFH<9FH<9

=GHF=7H<58BCDC@=7MDFC<=6=H=B;5H957<9F@=?958=@@C:FCA69=B;56@9HCF9ACJ957<=@8:FCA

7@5GG5B8H5?9<9FK<9F9J9F<97<CG9K=H<5BM9L7IG9:CF5G@CB;5G<97<CG95G89ACBGHF5H986M

9:9B85BHTG 8=G7CJ9FM F9GDCBG9G GKCFB HC 5B8 J9F=:=98 6M 8=B6IF; !+ GG=GH5BH

+ID9F=BH9B89BHF *969775%CFF=GCB 69@CK

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%G 9FB5@7CB:=FA98H<5H5H957<9F7CI@87CA9HCH<5H7<=@8TG7@5GGFCCAK=H<".8&7$42&5B8DI@@

<9FCIH  GG=GH5BH(F=B7=D5@I@69FHGCBH9GH=:=98H<5HH<9F9G<CI@8<5J9699B5DC@=7M=BD@579HC

588F9GG5B8DF9J9BH5F9ACJ5@C:5GHI89BH:FCAH<97@5GGFCCA  (F=B7=D5@$989GA55@GC58A=HH98

H<9F9G<CI@8<5J9699B5DC@=7M588F9GG=B;F9ACJ5@   58H<9F9699BGI7<5DC@=7M=BD@579H<9

G9LI5@5GG5I@HGKCI@8BCH<5J9C77IFF98 &CK5:H9FAI@H=D@95GG5I@HG5B8HKC@5KGI=HGCB9DC@=7M


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      /./=7+/:   
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       +>   
   
      B23,3>"
   
      /<8+6/:   
   
      ?6,/<>=98/:        
   
      /./=7+/:   


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<5G699BDIH=BHCD@579 77CF8=B;HC:CFA9F(F=B7=D5@+M@J=5$989GA5H<9F9=GBCK5KF=HH9B

DC@=7MGH5H=B;H<5H5H957<9F75BBCH69@9:H5@CB9K=H<57<=@8  

         ,<98=::9F9B7969HK99B5DC@=7M5B85DFC798IF975B697CB:IG=B; (@5=BH=::GI6A=HGH<5H

H<9 +7<CC@ C5F8 7CI@8 95G=@M A5?9 5 DC@=7M F9EI=F=B; H<5H :FCA <9B79 :CFK5F8 !+ K=@@

9BGIF9H<5H =H?BCKGK<9F9GHI89BHG5F95H5@@H=A9G KF=HH9B5IH<CF=N5H=CB=GF9EI=F98HC

F9ACJ95GHI89BH:FCA7@5GG5B8BCGH5::A9A69F75B695@CB9K=H<57<=@8:CF9LH9B898D9F=C8G

C:H=A9K=H<CIH5B5DDFCJ98@9;=H=A5H9DIFDCG9 ,<9+ID9F=BH9B89BH7CI@8H<9B=AD@9A9BHGI7<

DC@=7=9G=BK<5H9J9FDFC798IF5@A5BB9F<9D@95G98 

         ,<975G9C:23&,,&&&5&2&3",5&7"2 *38.%&0&.%&.3$)//, *231*$3&3", =J=@

7H=CB        =G=BGHFI7H=J9:CFH<=GCIFH !BH<5H75G9G=A=@5FHCH<=G75G95A=BCF7<=@8<58

F9D95H98@M 699B F9ACJ98 :FCA <=G 7@5GG 6M 5 GH5:: A9A69F 5H ,9L5G =HM !+ K<9F9 H<9 GH5::

A9A69FKCI@8G9LI5@@M56IG9H<97<=@8CB75ADIG %+=A=@5FHCH<=G75G9,9L5G=HM!+<58

BCDC@=7M588F9GG=B;H<9F9ACJ5@C:H<97<=@85B8577CIBH=B;:CFH<9K<9F956CIHGC:H<5H7<=@8 %

9:9B85BH,9L5G=HM!+7CIBH9F98H<5H=H<585DC@=7M588F9GG=B;G9LI5@56IG95B8HF5=B=B;CB

G9LI5@56IG95HH<969;=BB=B;C:H<9G7<CC@M95F % CK9J9FH<9CIFH=B=HG'F89F9BM=B;H<9

=GHF=7HTG+IAA5FM"I8;A9BH5B8ID<C@8=B;(@5=BH=::GT 7@5=A<9@8H<5HH<9A9F9:57HH<5H

H<9=GHF=7H<585DC@=7M588F9GG=B;G9LI5@56IG9=GBCHGI::=7=9BH

          Q9:9B85BHG5GG9FHH<5H5HF5=B=B;G9GG=CB<58699B7CB8I7H985B8D5AD<@9HGF9;5F8=B;H<9
          89H97H=CB5B8F9DCFH=B;C:DCGG=6@9G9LI5@56IG9<58699B8=GHF=6IH98M9H"C<BC9K5G
          5@@CK98HC69F9ACJ98:FCA<=G7@5GGFCCACBBIA9FCIGC775G=CBG:CF5BMF95GCB5H5@@
          6M5BIBHF5=B98GH5::A9A69F ,<9GH5::A9A69FK5GBCHF9EI=F98HC7CAD@9H9D5D9FKCF?
          F9;5F8=B;H<9F95GCB:CFF9ACJ5@H<989GH=B5H=CBC:H<9F9ACJ987<=@8CFH<99LD97H98H=A9
          C:F9HIFB 9GD=H9H<95@@9;98589EI57MC:H<9DC@=7=9GC:H<9G7<CC@8=GHF=7HBCH957<9FCF
          CH<9FG7<CC@9AD@CM999J9F6975A9GIGD=7=CIGCBH<9BIA9FCIG85MGK<9B"C<BC98=8
          BCH F9HIFB HC 7@5GG =B 5 H=A9@M A5BB9F H<9 C77IFF9B79G K9F9 B9J9F F9DCFH98 5B8 H<9
          :F9EI9B7MC:F9ACJ5@K5GB9J9F7<5@@9B;98 BE=C:2B63@34=@3/>>3/@B6/B/<G>=:71G
          7<>:/13/BB63B7;3=6<=3E/A/AA/C:B32E/AD7@BC/::GE=@B6:3AA/A:7BB:3344=@B

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    /./=7+/:   


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        />>3/@AB=6/D3033<3F>3<232B=3<AC@3B6/BB63>=:7173AE3@39<=E<=4C<23@AB==2
        /<27;>:3;3<B32
                '63 ;3@3 4/1B B6/B B63 7AB@71B 6/2 / >=:71G B6/B /22@3AA32 A3FC/: /0CA3 7A
        1=<B@/@GB=343<2/<BMA>=A7B7=<7A8CABB630357<<7<5=4B63/>>@=>@7/B37<?C7@G'63
        @3/:7AAC37<B67A1/A37AE63B63@B637;>:3;3<B/B7=<=4B6/B>=:71GB6@=C5632C1/B7=<
        /<2B@/7<7<5E/A/23?C/B3B=AC447173<B:G/1673D37BA5=/:74<=BB637</23?C/1G1/<
        8CAB747/0:G03A/72B=@3>@3A3<BA16==:>=:71G!HA5M89:M7CAACBG9BG9HC5GG9FHH<5H
        ,!+ KCI@8 57HI5@@M <5J9 5 DC@=7M C: BCH H5?=B; F95GCB56@9 GH9DG HC DFCH97H =HG ACGH
        <9@D@9GG7<=@8F9B:FCAG9LI5@DF985HCFG CBE63@3B63<3324=@63756B3<3232C1/B7=<
        /<2B@/7<7<57AA==0D7=CA/<2B637</23?C/1G6/ABE713033<A6=E<B=@3AC:B7<B63
        D7=:/B7=< =4 B6=A3 167:2@3<MA 1=<AB7BCB7=</: @756BA B63 >=:71G;/93@A =4 B63 A16==:
        27AB@71B1/<@3/A=</0:G03A/72B=6/D3033<23:703@/B3:G7<27443@3<BB=B63167:2@3<MA
        <332A :  *38/' ".3/.5"11*2- +    R

*9DCFH5B8*97CAA9B85H=CB6M"I8;9"C<B* FC9G7<B9F+=;B98%5M  =J=@7H=CB
   =BH<9-B=H98+H5H9G=GHF=7HCIFH:CFH<9+CIH<9FB=GHF=7HC:,9L5G5@J9GHCB=J=G=CB 
      
,<9- + +IDF9A9CIFH=B ".3/.<9@8G=A=@5F@M

       Q!HA5M<5DD9BH<5H=B@=;<HC:H<98IH=9G5GG=;B98HCGD97=:=7C::=79FGCF9AD@CM99GB63
       <3324=@;=@3=@27443@3<BB@/7<7<57AA==0D7=CA/<2B637</23?C/1GA=:793:GB=@3AC:B
       7< B63 D7=:/B7=< =4 1=<AB7BCB7=</: @756BA B6/B B63 >=:71G;/93@A =4 B63 17BG 1/<
       @3/A=</0:G03A/72B=6/D3033<23:703@/B3:G7<27443@3<BB=B63<332 R

  ".3/.- +   9AD<5G=G58898 

       !:DC@=7=9G<58699B=BD@579"5B9C9KCI@8BCH<5J9GI::9F98G9LI5@5GG5I@H 8=B6IF;

!+K5G89@=69F5H9@M=B8=::9F9BH6MBCH<5J=B;DC@=7=9G 

     &/2!='@/7<7<57<B633B31B7=<=4&3FC/:0CA3

       !+ <58 BC GD97=:=7 HF5=B=B; =B H<9 %&3&$3*/. C: G9LI5@ DF985HCFG 5B8 G9LI5@ 56IG9

577CF8=B;HCH<9H9GH=ACBMC::CFA9FGG=GH5BH(F=B7=D5@*CG5%5F=59FB5@5B8:CFA9F(F=B7=D5@

+M@J=5 $989GA5   %G  $989GA5 8=8 BCH G99A HC IB89FGH5B8 H<9 A95B=B; C: Q89H97H=CB R

!B8998H<9GG=GH5BH(F=B7=D5@*CG5%5F=59FB5@A589H<=G@57?C:HF5=B=B;7@95FK<9BG<9G5=8

G<C7?=B;@MH<5HH<9GHI89BHTGH957<9F75B89H9FA=B9K<9H<9FH<9GHI89BHG<CI@8;CK=H<58=@@C



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    /<8+6/:  /./=7+/:   
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     +>   


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K<9B<97CA9GHCH<97@5GGFCCA#"2&%/.3)&-*./1:21&"$3*/.".%3)&-*./1:2*.%*$"3*/. %G 

9FB5@G5=8H<5H"5B9C95A=BCF7<=@8B9J9FG<CK985BMG=;BGH<5HG<98=8BCHK5BHHC;CK=H<

%F 58=@@C5B8GCH<5H=GK<MH<9H957<9F5@@CK98"5B9C9HC69H5?9B6M%F 58=@@CCIHC:H<9

7@5GG !HK5G5HH<=GDC=BHH<5H(@5=BH=::TG7CIBG9@<58HCF9A=B8%G 9FB5@=BH<989DCG=H=CBH<5H

5 A=BCF A5M K=@@=B;@M D5FH=7=D5H9 6IH 75BBCH 7CBG9BH 5G 5 A5HH9F C: @5K HC K<=7< %G  9FB5@

5;F998 !BCH<9FKCF8G6M!+TGGH5B85F8GH<97<=@8AIGH:9B8:CF<9FG9@:5GH<9H957<9F

F9@=9GCBH<97<=@8HC?BCK=:GCA9H<=B;=GKFCB;K<=7<=G7CAD@9H9@M657?K5F8G=BH<=B?=B;5B8

HF5=B=B;  ,<=G 58A=GG=CB =G CB9 :FCA 5 K=HB9GG H<5H <5G <58 BC GI7< G9LI5@ 56IG9 HF5=B=B;

K<5HGC9J9F  ,<=G 58A=GG=CB 588=H=CB5@@M F9J95@G H<5H CH<9F H957<9FG 8C BCH F979=J9 H<=G HF5=B=B;

9=H<9F !:G<9<58<58GI7<HF5=B=B;G<9KCI@8<5J9?BCKBF=;<H5K5MH<5H7<=@8J=7H=AGC:H9B

K=@@=B;@MD5FH=7=D5H96IH75BBCH7CBG9BH5G5A5HH9FC:@5K ,<9G7<CC@TGDC@=7MG<CI@8<=B69CB9

C:65G=B;F98:@5;GC::5A=BCF7<=@8TGF957H=CB 

        ,<9:57HH<5H%F 58=@@CK5GDI@@=B;"5B9C9CIHC:7@5GGBCHCB9BCHHKC6IHAI@H=D@9

H=A9GG<CI@8<5J9H<FCKBIDG9F=CIGF98:@5;G:CFH<9+7<CC@ %G I@69FHGCB58A=HH98H<5H=HF5=G9G

F98:@5;G5B8=G5G9F=CIGDFC6@9A:FCA<9FDC=BHC:J=9K5G5B58A=B=GHF5HCF !H;CHGC658H<5H

CB9C:"5B9C9TGH957<9FG&C9A=.9@5GH5H98=B<9F5::=85J=HH<5H=HK5GQ697CA=B;5<56=H R

!:H<9H957<9FG<58699BHF5=B985H5@@CB89H97H=CB5B8 CF=89BH=:=75H=CBC:G9LI5@56IG9H<9MKCI@8

<5J9?BCKBH<5HH<=G69<5J=CF=G5@5FA=B;5B87CBG=GH9BHK=H<GCA9HMD9C:KFCB;8C=B; !:H<9M

<58 HF5=B=B; H<9 H957<9FG KCI@8 <5J9 IB89FGHCC8 58=@@C J=C@5H98 DFCD9F 6CIB85F=9G 69HK99B

9AD@CM99G5B8GHI89BHGK<9B*.3&1",*"<97CBH=BICIG@MG=B;@98CIH"5B9C95B8CH<9FMCIB;



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    /<8+6/:   
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     +>  

     +>   

    ?6,/<>=98/:    

    B23,3>$003.+@3>90!9/73)/6+


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:9A5@9 GHI89BHG :CF :F=9B8G<=D 5B8 5HH9BH=CB 5B8 58=@@CTG 7CB8I7H 7CBGH=HIH98 ;FCCA=B; 5B8

G=;B5@98<=G=B5DDFCDF=5H9G9LI5@A=G7CB8I7H5;5=BGH"5B9C95B8CH<9FGHI89BHG ,<9+7<CC@

KCI@8<5J9?BCKBHC#&0"13*$4,"1,8",&133/2*(.2/'&-0,/8&&/.234%&.32&74",)"1"22-&.3=B

D5FH6975IG95GHI89BH@=?9"5B9C9A5MBCHF9DCFHGI7<G9LI5@A=G7CB8I7H6975IG9G<969@=9J9G

Q5BM C6>97H=CBG KCI@8 69 =B9::97H=J9 =B GHCDD=B; H<9 <5F5GGA9BH CF A5M :95F H<5H 6M A5?=B;

C6>97H=CBG<9CFG<9K=@@69G=B;@98CIH:CF<5F5GG=B;7CAA9BHGCFCH<9FF9H5@=5H=CB R

        88=H=CB5@@MH<9+7<CC@8=8<=BDFCJ=89H<9H957<9FGK=H<H<985H5CB:F9EI9B7MC:G9LI5@

56IG9 6M H957<9FG =B G7<CC@G 5G F9:9F9B798 GIDF5 =B H<9 5FH=7@9 6M )& 423*. -&1*$".

3"3&2-".  ,<95GG=GH5BHDF=B7=D5@G5B8DF=B7=D5@58A=HH98=BH<9=F89DCG=H=CBGH<5HH<9MKCI@8

<5J9@=?98HC<5J9699BA5895K5F9C:H<9G9GH5H=GH=7GHC<9@DH<9A8CH<9=F>C669HH9F  ,<=G85H5

=GGCA9H<=B;H<9+7<CC@G<CI@8<5J9DFCJ=898HCH<958A=B=GHF5HCFG5GD5FHC:H<9=FHF5=B=B;CB

G9LI5@56IG9 ,<9+7<CC@8=8BCHA5?9H<9H957<9FG5K5F9C:H<9DF=CF=B7=89BHG5B87CAD@5=BHG

C:G9LI5@5GG5I@HG5B8G9LI5@<5F5GGA9BH5H8=B6IF;!+ 

         '"=BH<9,F5=B=B;.=89CL<=6=H#HC9:9B85BHTG%CH=CBAD@CM99 5B86CC?

L<=6=H  HC 9:9B85BHTG %CH=CB CF 9:9B85BHTG HF5=B=B; =B:CFA5H=CB HC GH5:: L<=6=H " HC

9:9B85BHTG%CH=CB8C9G=H8=G7IGG%&3&$3*/.CF*%&.3*'*$"3*/.C:G9LI5@DF985HCFGCF<CKHC%&3&$3

CF*%&.3*'8G9LI5@56IG9 $989GA57CB:=FA98H<9F9K5GBCHF5=B=B;CB89H97H=CBC:G9LI5@56IG9=B

<9F89DCG=H=CB IFH<9F9:9B85BHHF=9GHCA5?9H<95F;IA9BHH<5HH<9+7<CC@<58Q:CIFDC@=79



                                    

    (&/:+<>7/8>90/+6>2+8.?7+8&/<@3-/=.7383=><+>39809<236.</8+8.+7363/="003-/98236.
,?=/+8.!/16/->F'2/%96/90.?-+>9<=38#</@/8>381+8.%/=:98.381>9236.,?=/+8.!/16/->G*+=2381>98
  +@+36+,6/+>2>>:=AAA-236.A/60+</19@:?,#=/.?-+>9<:.0

    (&/:+<>7/8>90.?-+>398"%%/@3=/.&/B?+6+<+==7/8>?3.+8-/+<+==7/8>90&>?./8>=,C&-2996
7:69C//= ">2/< &>?./8>= 9< '23<. #+<>3/= *+=2381>98    F   ?3.+8-/G &/->398 )  E 
+@+36+,6/+>2>>:=AAA /.19@+,9?>9003-/=63=>9-<.9-==21?3./2>76

    ?6,/<>=98/:               /<8+6/:    
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     
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    ?6,/<>=98/:   /<8+6/:   


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C::=79FGD5HFC@@=B;H<9G7<CC@ R&&::=85J=HC:+M@J=5$989GA55HH57<98HC9:9B85BHTG%CH=CB

,<5H8C9G<=BG5H=G:MH<9HF5=B=B;F9EI=F9A9BH ,<9F9=GBC9J=89B79H<5HH<9G9DC@=79C::=79FGK9F9

HF5=B98CB<CKHC=89BH=:M5B889H97HG9LI5@56IG9 !B8998J=89CGIFJ9=@@5B79C6H5=B98:FCAH<9

!+DC@=79G<CKGCB%5M            F5B7=G7C58=@@C;C=B;=BHC*CCA5B8H<9BK5@?=B;

CIH5B8K5@?=B;HC*CCA         5B8K5=HG:CF(@5=BH=::"5B9C9K<CK5@?98CIHC:*CCA

5B8K5@?98=BHC*CCA         K=H<58=@@C ,<=GG<CI@8<5J9F5=G98:@5;G:CFH<9DC@=796IHH<9M

K9F97@95F@MBCHHF5=B98DFCD9F@M5B8H<9F9:CF9BC57H=CBK5GH5?9B6MH<9AH<5H85M GGH5H98=B

ACF989H5=@<9F9=BH<9+7<CC@$"../30"22/''*32*3,&/#,*("3*/.2/.3/3)&0/,*$& ,<=G:57H=G

CB@M<IFH=B;9:9B85BHTG5F;IA9BH 9:9B85BHTGHF5=B=B;=GK<C@@M=B589EI5H9CFBCB9L=GH9BH5G

89G7F=69856CJ9 ,<9HF5=B=B;J=89C=GGCF9@MCIH85H98 B85GH<9CIFHG<5J9A5897@95F5A9F9

DC@=7MCBG9LI5@56IG9=GBCHGI::=7=9BH "IGH6975IG9MCI;=J95B9AD@CM995<5B86CC?=G<=B

3<=C56 ,<9+7<CC@<5GHC9BGIF9H<9G9DC@=7=9G5F969=B;:C@@CK985B8=AD@9A9BH98 

      %CF9CJ9FH<9<=;<89;F99C:DF98=7H56=@=HMH<5HGHI89BHGKCI@8GI::9FG9LI5@56IG95@GC

GIDDCFHG5B=B:9F9B79C:75IG5H=CB<9F9 && %/'3)& .38 /--:12/' 18". .385 1/6.

   - +        %CF9GD97=:=75@@MH<9- + +IDF9A9CIFHH<9F9<9@8

       ,<9 @=?9@=<CC8 H<5H H<9 G=HI5H=CB K=@@ F97IF 5B8 H<9 DF98=7H56=@=HM H<5H 5B C::=79F @57?=B;
       GD97=:=7HCC@GHC<5B8@9H<5HG=HI5H=CBK=@@J=C@5H97=H=N9BGTF=;<HG7CI@8>IGH=:M5:=B8=B;H<5H
       DC@=7MA5?9FGT 897=G=CB BCH HC HF5=B H<9 C::=79F F9:@97H98 Q89@=69F5H9 =B8=::9F9B79R HC H<9
       C6J=CIG 7CBG9EI9B79 C: H<9 DC@=7MA5?9FGT 7<C=79 P B5A9@M 5 J=C@5H=CB C: 5 GD97=:=7
       7CBGH=HIH=CB5@ CF GH5HIHCFM F=;<H  ,<9 <=;< 89;F99 C: DF98=7H56=@=HM A5M 5@GC GIDDCFH 5B
       =B:9F9B79 C: 75IG5H=CB P H<5H H<9 AIB=7=D5@=HMTG =B8=::9F9B79 @98 8=F97H@M HC H<9 J9FM
       7CBG9EI9B79H<5HK5GGCDF98=7H56@9 
       
       %9AD<5G=G58898 

       CF H<9 :CF9;C=B; F95GCBG H<9F9 =G 5 ;9BI=B9 =GGI9 C: A5H9F=5@ :57H <9F9 5B8 !+TG

%CH=CB:CF+IAA5FM"I8;A9BHAIGH6989B=98 

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                            &*&%',!%!'

          (@5=BH=:: =B7CFDCF5H9G 5@@ 5F;IA9BHG A589 56CJ9 <9F9=B 5G =H H=9G =BHC 89@=69F5H9

=B8=::9F9B79 GG99B56CJ98=B6IF;!+<5857HI5@BCH=79C:G=A=@5F7CAD@5=BHGA5895;5=BGH

58=@@C DF=CF HC "5B9 C9TG 5GG5I@H 5B8 :FCA H<5H 7CAD@5=BH 8=B6IF; !+ ?B9K H<9F9 K5G

8=G7F=A=B5H=CB=H=HGDFC;F5AG 8=B6IF;!+5@GC<5857HI5@BCH=79:FCADF=CFG9LI5@5GG5I@HG

5B8G9LI5@<5F5GGA9BH6MCH<9FH957<9FGH<FCI;<H<9M95FG !:5H957<9F=G5DDFC57<=B;57<=@856CIH

<9FBI89D<CHC;F5D<G5B8H9@@=B;H<5H7<=@8H<5HG<9@CC?GB=79H<9BH<5HH957<9F=G79FH5=B@M;C=B;

HCG9LI5@@M56IG957<=@8 !BF979=J=B;H<9G97CAD@5=BHG9:9B85BHK5GF9EI=F98HCH5?97CFF97H=J9

57H=CB=AA98=5H9@MF5H<9FH<5BG=H=8@M6MK<=@9GHI89BHGC:=HGG7<CC@F9D95H98@MGI::9F98G9LI5@

<5F5GGA9BH5B88=G7F=A=B5H=CB6M58=@@C 9:9B85BH5F;I9GH<5H=HK5GBCH89@=69F5H9@M=B8=::9F9BH

HC 7CAD@5=BHG C: G9LI5@ <5F5GGA9BH D5FH=7I@5F@M  % TG 7CAD@5=BH 6975IG9 =H K5G QIB89B=56@M

=BJ9GH=;5H985B8588F9GG986MH<98=B6IF;!+(C@=799D5FHA9BH R CK9J9FG9J9F5@7CIFHG

5B8H<9- + 9D5FHA9BHC:8I75H=CB<5J9A589=H7@95FH<5HH<92$)//,)"23/$/.%4$3*32/6.

*.%&0&.%&.3*.5&23*("3*/. &&L<=6=H!'*95FC@@95;I9$9HH9FDD  KJB63A16==:MA

'7B:3 + 7<D3AB75/B7=< 7A 27443@3<B 4@=; /<G :/E 3<4=@13;3<B 7<D3AB75/B7=< /<2 / :/E

3<4=@13;3<B7<D3AB75/B7=<2=3A<=B@3:73D3B63A16==:=47BA7<23>3<23<B'7B:3+=0:75/B7=<

B= 7<D3AB75/B3 B63 1=<2C1BJB63 A16==:MA 7<?C7@G ;CAB 7< /:: 1/A3A 03JB6=@=C56JL  ,<9

+7<CC@75BBCHG=AD@MD5GG=HC::HC5DC@=7989D5FHA9BHCF;CJ9FBA9BH5@5;9B7M %,<=GGH5H9A9BH

=B9:9B85BHTG%CH=CB588=H=CB5@@MG<CKGH<9;@5F=B;5B8C6J=CIG=B589EI57=9G5B889:=7=9B7=9G

=B,=H@9!0HF5=B=B;5H8=B6IF;!+ 

           H @95GH CB9 :989F5@ 7CIFH <5G :CIB8 H<5H 5 G7<CC@ :5=@98 HC 5DDFCDF=5H9@M F9GDCB8 HC 5

7CAD@5=BHC:G9LI5@<5F5GGA9BHK<9B=H=ADFCD9F@MF9@=98CB5DC@=79=BJ9GH=;5H=CB5B88=8BCH

                                    

      /0/8.+8>H= 9>39809<&?77+<C?.17/8>E 5>!9 


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7CB8I7H=HGCKB=BJ9GH=;5H=CB && /&5/1&23*,,2              - + =GH $0!+          5H    

/   %=7<  %5F              ,C 5779DH H<9 9:9B85BHTG 5F;IA9BH H<5H 5 G7<CC@ 8=GHF=7H A5M

QDIBHR=HGC6@=;5H=CBGHCDFCD9F@MF9GDCB8HC7CAD@5=BHGC:G9LI5@<5F5GGA9BHCFQD=;;M657?RCB

DC@=79 =BJ9GH=;5H=CBG 5B8 :=B8=B;G KCI@8 9J=G79F5H9 ,=H@9 !0  /<=@9 H<5H A5M :I@:=@@ A5B85H98

F9DCFH=B; 8IH=9G =H 8C9G BCH :I@:=@@ 5 G7<CC@TG 8=GH=B7H F9GDCBG=6=@=H=9G IB89F ,=H@9 !0  @GC H<9

8=B6IF;!+DC@=7989D5FHA9BHIB89B=56@M<5G=B<9F9BH6=5GHCK5F8GH<9G7<CC@ ,<9+7<CC@

G<CI@8 <5J9 F9DCFH98  % TG 7CAD@5=BH HC CH<9F @5K 9B:CF79A9BH GI7< 5G H<9 8=B6IF; (C@=79

9D5FHA9BH6IH8=8BCH8CGC ,<9+7<CC@G<CI@8<5J9F9DCFH98H<9=B7=89BHHC(+6IH8=8BCH

8CGC ,<9+7<CC@G<CI@8<5J97CB8I7H98=HG/6.=BJ9GH=;5H=CB=BHCH<97CAD@5=BH6IH8=8BCH8C

GC  ,<=G 5@@ A95BG H<5H 9:9B85BH 6M BCH 7CB8I7H=B; =HG /6. =BJ9GH=;5H=CB CF A5?=B; =HG /6.

=B89D9B89BH:=B8=B;GF9;5F8=B;58=@@CTGG9LI5@<5F5GGA9BH5;5=BGHGHI89BHG5B8=BGH95858CDH=B;

8=B6IF;!+(:=B8=B;G5G=HGCKB:5=@98HCA99H=HG,=H@9!0C6@=;5H=CBG5B8K5G89@=69F5H9@M

=B8=::9F9BHHCH<99B8@9GGG9LI5@<5F5GGA9BHH<5H"5B9C9GI::9F98 

         *9;5F8@9GG H<9 8=B6IF; !+ DC@=79 89D5FHA9BH 8=8 BCH :I@@M =BJ9GH=;5H9 H<9 =B7=89BH

6975IG97@95F@MD9F % TGH9GH=ACBMBCF9A98=5@57H=CBK5GH5?9B5B8 % 5B8<9FD5F9BHGK9F9

B9J9FA5895K5F9C:5BMCIH7CA9CF7CBG9EI9B79G:C@@CK=B;<9F7CAD@5=BH IFH<9FH<9CB@M

F95GCBH<9F9=G5BM?=B8C:DC@=79F9DCFH5H5@@=G6975IG9 % H<9GHI89BHK5GH<9CB9HC5DDFC57<

H<9C::=79F &CH5BM58A=B=GHF5HCFCFH957<9F ,<9+7<CC@=GHFM=B;HC8979DH=J9@MA=G@958H<=G

CIFH=BHC69@=9J=B;H<9+7<CC@HCC?Q5@@B979GG5FM57H=CBR6975IG9H<9F9=G5DC@=79F9DCFH /9@@

BC58A=B=GHF5HCF5HH<9+7<CC@A589H<9DC@=795K5F9 ,<97<=@88=8 B8:CFH<9F97CF8H<9

CB@MF95GCB"5B9C9TGG9LI5@5GG5I@H9J9B;CH5BM5HH9BH=CB5H5@@6MH<9G7<CC@=G6975IG9"5B9


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     /:   

    B23,3>

    B23,3>


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C9TG:F=9B8 % 5GHI89BHF9DCFH98=HHC8=B6IF;!+DC@=79 ;5=BH<9F9GDCBG=6=@=H=9G

K9F9@9:HIDHC57<=@8K<9BF95@@MH<9G7<CC@G<CI@8<5J9699BDFC57H=J9DIFGI5BHHCDF9J5=@=B;

75G9@5K5B8GH5HIH9G 

        ,<9+7<CC@F9@=9G<95J=@MCB/.9",&25 2,&3".%&0&.%&.3$)//, *23 8

 HCDFCJ9=HGDC=BH  CK9J9FH<5H75G9=G9BH=F9@M8=GH=B;I=G<56@9 !B/.9",&2H<9+7<CC@

ACIBH98GCA9HMD9C:F957H=CBIDCBBCH=79C:H<9GHI89BHTG7CAD@5=BH6MF9DF=A5B8=B;H<9H957<9F

%5F9G=BKF=H=B;CF89F=B;<=AHC9BH9F5Q;9B9F5@=ADFCJ9A9BHDFC;F5AR5B8HF5BG:9FF=B;<=AHC

5BCH<9FG7<CC@ %5H  9F9H<9=B7=89BHH<5HACGH=AA98=5H9@MDF979898H<9CB9K=H<

"5B9C9K5G % TG=B7=89BHK<=7<H<9+7<CC@@95FB98C:5B8272<=B67<5/0=CB &CC::=7=5@

F9DF=A5B8=BKF=H=B; &C=ADFCJ9A9BHDFC;F5ACF89F98 &CHF5BG:9F &C5@9FHHCH<9GHI89BH6C8M 

&CGIGD9BG=CB &C:=F=B;  % HC@8H<9+7<CC@H<5H58=@@CA589<9F:99@J9FMIB7CA:CFH56@95B8

H<5H<9K5GGH5@?=B;<9F5B85G?=B;56CIH<C23>6=B=5@/>6A 9:9B85BH8=B6IF;!+8=8BCH

H5?95BMHMD9C:57H=CB@=?9H<9+7<CC@8=8=B/.9",&9

           9F93"+*.(3)&'"$32*.3)&,*()3-/23'"5/1"#,&3/,"*.3*''5GH<=GCIFHAIGH8CH<9

+7<CC@TGF957H=CBCF@57?H<9F9C:5ACIBH98HC89@=69F5H9=B8=::9F9B79 

        J9B=:H<=GCIFH897=89GH<5H %TG7CAD@5=BHK5GBCHGI::=7=9BH:CFBCH=79H<9B(@5=BH=::

KCI@8G<CKH<5H9J9B5:H9F8=B6IF;!+6975A95K5F9C:"5B9C9TG5GG5I@H=B%5M                

"5B9C9H9GH=:=98H<5H/27::=AB7::@3;/7<32=<1/;>CA J9BACF99;F9;=CIG@M %"
                                          
  #$ $$"$             '# '$ "#   ##"&$$"$ 

"  %"  #%!"$$ %$"")#$$" ,##"&$ 




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    +8/9//:    
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     


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    %"  #*!!"$+ !B%F 58=@@CTGF9G=;B5H=CB@9HH9F<9GH5H98H<5H5:H9F

<=G 8=G7IGG=CB K=H< *9B9 +5@=B5G =F97HCF C: (9FGCBB9@ 5H 8=B6IF; !+ =H K5G =B Q$ #$

$"#$  %"  +:CF<=AHCF9G=;B5B8H<9F95GCB:CFF9G=;B5H=CBK5G8I9HCQ!"# 

"# #R  ,<5H =G =BG5B=HM 5B8 :F5B?@M 5 H9GH5A9BH HC 8=B6IF; !+TG <IG< <IG< 7I@HIF9 

8=B6IF; !+ K5BH98 58=@@C HC F9G=;B GC H<9 +7<CC@ KCI@8 BCH @CC? 658  %G  I@69FHGCB

58A=HH98 =B <9F 89DCG=H=CB H<9F9 G<CI@8 69 5 DC@=7M =B CF89F HC DF9J9BH F9G=;B5H=CB 5A=8GH

5@@9;5H=CBG 5B8 F9G=;B5H=CBG DF9G9BH98 5 <I;9 DFC6@9A  9GD=H9 G9J9F5@ =B7=89BHG C: G9LI5@

5GG5I@H5B8G9LI5@<5F5GGA9BH5H!+5B889GD=H9H<9:57HH<5H5H@95GHCB9C:H<CG9=B7=89BHG

=BJC@J9857CAD@5=BHH<5H58=@@CK5GDI@@=B;5A=BCF7<=@8CIHC:7@5GG5B8;9HH=B;<9F5@CB9K=H<

BC577CIBH56=@=HMCFGID9FJ=G=CBHC8=G7IGGBI89D<CHC;F5D<GC:G5=8A=BCFGHI89BH!+

            %589BC7<5B;9GHCDC@=7M9J9BH<CI;<DF9J=CIG=B7=89BHGC:G9LI5@5GG5I@H5B8G9LI5@

               <5F5GGA9BH6MH957<9FGC:GHI89BHG89ACBGHF5H98H<5H!+TGDC@=7=9G=B589EI5H9@M

               DFCH97H987<=@8F9B

               58BCDC@=7MF9EI=F=B;HF5=B=B;=BH<989H97H=CBC:G9LI5@56IG9

              58BCDC@=7MDFC<=6=H=B;H957<9FG5B8GH5:::FCA69=B;@9:H5@CB9K=H<7<=@8F9B:CF

               @CB;D9F=C8GC:H=A9

              58BCDC@=7MF9EI=F=B;H<9HF57?=B;C:7<=@8F9BTGK<9F956CIHG8IF=B;H<9G7<CC@85M

              58BCDC@=7MDFC<=6=H=B;57<=@8:FCA69=B;F9ACJ98:FCA7@5GGK=H<CIH5@9;=H=A5H9

               5DDFCJ98DIFDCG9

           +H=@@<5GBCHF9J=9K98=HGDC@=7=9GHC9BGIF9H<9M5F9GI::=7=9BHHCDF9J9BHH<9HMD9C:

               C77IFF9B79K=H<58=@@CH<5H<5GBCK<5DD9B985H@95GHCB9DF9J=CIGH=A95B8


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     
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     
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    ?6,/<>=98/:    


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             +H=@@<5GBCKF=HH9BDC@=7MF9EI=F=B;HF5=B=B;=BH<9%&3&$3*/.C:G9LI5@56IG9=B7<=@8F9B 

           "5B9 C9 H9GH=:=98 H<5H H<9 +7<CC@ 7CI@8 <5J9 8CB9 ACF9 HC DFCH97H <9F  ,<9F9:CF9

6975IG9 9:9B85BH 8=B6IF; !+ K5G 89@=69F5H9@M =B8=::9F9BH H<=G CIFH G<CI@8 89BM

9:9B85BHTG%CH=CB 

                                      +
                #(!') &%%")%(!%''+

          CBHF5FM HC 9:9B85BHTG A=G@958=B; 5F;IA9BH DIB=H=J9 85A5;9G 5F9 F97CJ9F56@9 IB89F

,=H@9 !0  =FGH@M H<9 75G9 HC K<=7< 9:9B85BH 7=H9G "1.&2 5 /1-". =G BCH 9J9B 5 ,=H@9 !0

75G9 9:9B85BH9J9B7CB7989GH<5H "1.&2=GBCH5,=H@9!075G9 Q/<9H<9FDIB=H=J985A5;9G

5F9F97CJ9F56@9IB89F,=H@9!089D9B8GCBK<9H<9FH<9=BGH=HIH=CB57H98SK=H<A5@=79CFF97?@9GG

=B8=::9F9B79HCH<9:989F5@@MDFCH97H98F=;<HGC:3H<9D@5=BH=:: 4TR/,23"%5 -&1*$". &.3", 22:. 

 - +           + H     $ 8  8 F9:9FF=B;HC,=H@9.!!75G9/$)

5 /"1%/'%4/'%6"1%25*,,& /--4.*38$)//, *23 &C  +IDD  8                     - + 

=GH $0!+             /$        +  !@@ "I@M    QGH<9+9J9BH<=F7I=H<5G

=B8=75H98 S:989F5@ 7CIFHG @CC? HC 75G9G 897=898 IB89F ,=H@9 .!! HC =B:CFA 5B5@MG=G IB89F ,=H@9

!0 TR 

          !B 1".+,*. H<9 CIFH 7CB:FCBH98 H<9 =GGI9 C: K<9H<9F ,=H@9 !0 GIDDCFHG 5 7@5=A :CF

ACB9H5FM85A5;9G %5H !B<C@8=B;H<5HACB9H5FM85A5;9GK9F9=B89985J5=@56@9=B,=H@9!0

75G9GH<9CIFHGH5H98H<5H

      H<9;9B9F5@FI@9H<9F9:CF9=GH<5H56G9BH7@95F8=F97H=CBHCH<97CBHF5FM6MCB;F9GG$
      " %"$#&$! '"$ '"(!!" !"$" )%# 
      $ " %$!%"#%$$ "#$$%$
      
<G/>>@=>@7/B3@3:7347<1:C23A>C<7B7D32/;/53A/A1=C@BA6/D363:2

                                    

    +8//:   
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     (&   &>  . .   
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    /0/8.+8>H= 9>39809<&?77+<C?.17/8>E 


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          @H<CI;<1".+,*.8=8BCH588F9GGGD97=:=75@@MH<95J5=@56=@=HMC:DIB=H=J985A5;9GIB89F
          ,=H@9!0H<9F9=GBC589EI5H965G=G=BH<91".+,*.CD=B=CBCF9@G9K<9F9:CF9L9ADH=B;
          DIB=H=J985A5;9G:FCAH<9:I@@GD97HFIAC:F9A98=9G;9B9F5@@M5J5=@56@9:CFJ=C@5H=CBC:5
          :989F5@GH5HIH9GI7<5G,=H@9!0CFH<9*9<56=@=H5H=CB7H =FGHDIB=H=J985A5;9G8C7HF=B9
          <5G 699B 5779DH98 5G SG9HH@98 @5K 6M B95F@M 5@@ GH5H9 5B8 :989F5@ 7CIFHG =B7@I8=B; 3H<9
          +IDF9A9CIFH4:CFACF9H<5B579BHIFM T

-*3)5"%& - +  $ 8  8  + H     

       %CF9CJ9F 5 A5>CF=HM C: H<9 +IDF9A9 CIFH <5G 5@F958M F9>97H98 H<9 DFCDCG=H=CB H<5H

CB;F9GGQ57H989LDF9GG@MK<9B=H=BH9B898HC5DDFCJ9DIB=H=J985A5;9G R% 5HB  =B5@@M

H<9Q5DDFCDF=5H9B9GGRC:DIB=H=J985A5;9G89D9B8GCBH<9=BH9BHC:H<989:9B85BH=B957<75G95

89H9FA=B5H=CBH<5HQ@3ABA7<B6327A1@3B7=<=4B63B@73@=44/1B R A "IF  8O9AD<5G=G

58898 

          G89ACBGHF5H9856CJ9DIB=H=J985A5;9G5F9F97CJ9F56@9IB89F,=H@9!0CF5HH<9J9FM

@95GH=H=G5EI9GH=CBC::57HH<5HG<CI@869@9:HHCH<9>IFMHC897=89 

                                      +
                #(!'') &%%")%(!%I 

         (IB=H=J9 85A5;9G 5F9 F97CJ9F56@9 IB89F O   ,<9 +IDF9A9 CIFH <5G <9@8 H<9 G5A9

GH5H=B;

          QH<9-B=H98+H5H9G+IDF9A9CIFH<5G897=898-*3)5"%& - +   + H   
          $ 8 8  K<9F9=BH<9CIFH<9@8DIB=H=J985A5;9G"1&F97CJ9F56@9IB89F
          O RK<9BH<989:9B85BHTG7CB8I7H=GG<CKBHC69ACH=J5H986M9J=@ACH=J9CF=BH9BH
          CF K<9B =H =BJC@J9G F97?@9GG CF 75@@CIG =B8=::9F9B79 HC H<9 :989F5@@M DFCH97H98 F=;<HG C:
          CH<9FG R&&-*3) - + 5H + H 5H  

*--/.25 *38/'"-/4     - + =GH $0!+ 5H /  $5         

     (I6@=7DC@=7M:CF89H9FF9B79=G5BCH<9F8F=J=B;:CF7969<=B8DIB=H=J985A5;9G:CF+97H=CB

    7@5=AG5GCIFHG<5J9<9@8

          ,<95J5=@56=@=HMC:DIB=H=J985A5;9G=G79BHF5@HCH<9;C5@C:89H9FF9B79=B<9F9BH=BO 
          75G9G !"1$/.&5&118  8  B8=F  /<=@9H<9=:H<=F7I=H<5GBCHFI@98
          8=F97H@M CB H<=G =GGI9 CH<9F 7CIFHG <5J9 <9@8 H<5H DIB=H=J9 85A5;9G A5M 69 5K5F898 =B




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        O GI=HG=B:989F5@7CIFHG9J9BK<9F9H<9M5F9BCH5J5=@56@9IB89FGH5H9@5K /1%/.5
        /1-". 8  H<=F  

)/-"251&%&1*$+ +IDD   /  $5   

     CFH<9:CF9;C=B;F95GCBGDIB=H=J985A5;9G5F9F97CJ9F56@9IB89F+97H=CB  

                                             + 
                                       "!(&"!

       GH<=GCIFH<5GF9A5F?98DF9J=CIG@MK=H<F9;5F8GHCH<=G75G9QA=;3B67<56/>>3<32

63@3B6/BE/A<=B/5==2B67<5 R(@5=BH=::5;F99G !H=G5@ACGH=B7CADF9<9BG=6@9H<5H5M95F

C@8H957<9F7CI@85H<=GK<=AH5?957<=@8:FCA7@5GG5B8H5?9H<5H7<=@8HC5B=GC@5H98FCCAP

<=GK=:9TG7@5GGFCCA:CFH<5HA5HH9FPCB75ADIG5B88CK<5H9J9F<9K5BH98K=H<H<97<=@8:CF5G

@CB;5G<9K5BH98 !H=GIB:5H<CA56@9H<5H=H<5DD9B98F9D95H98@M !H=G:F5B?@MIB69@=9J56@9H<5H

BCCB95HH<9G7<CC@=B7@I8=B;H<97<=@8TGH957<9FGKCI@8EI9GH=CBH<9K<9F956CIHGC:H<97<=@8

5B8BCCB9KCI@89J9BBCH=79H<5HH<97<=@8KCI@8BCHF9HIFBHC7@5GG:CF9LH9B898D9F=C8GC:H=A9

CF<3D3@@3BC@<B=1:/AA/B/:: !H6CF89FGCB7F=A=B5@H<5HGI7<5BC77IFF9B79<5GBCK<5DD9B98

G9J9F5@H=A9GFI=B=B;H<9@=:9C:"5B9C95B87CIBH@9GGCH<9FJ=7H=AG5B8;=J=B;F=G9HC5@5KGI=H 

/<5H =G ACF9 85AB=B; =G H<5H !+ B9J9F A589 7<5B;9G HC =HG DC@=7=9G 9J9B H<CI;< =H ?B9K

=B7=89BHGC:G9LI5@5GG5I@H6MGH5::A9A69FG@=?9"5B9C9TGC77IFF985HH<9=FG7<CC@GDF9J=CIG@M

5B857FCGGH<9GH5H95B8H<9B5H=CB9J9FM85M 

       !H=G5@ACGH=B7CADF9<9BG=6@9H<5H8=B6IF;!+KCI@8F9H5=B58=@@C5G5B9AD@CM99CB

75ADIG9J9B5:H9F<5J=B;BCH=79C:57F=A=B5@7CAD@5=BHC:G9LI5@<5F5GGA9BH6M58=::9F9BH7<=@8

CBDF=@        8=B6IF;!+?B9K8=G7F=A=B5H=CB9L=GH98=B=HGDFC;F5AG5B8M9HHCC?BC

57H=CB F9GI@H=B; =B 58=@@C G9LI5@@M 5GG5I@H=B; "5B9 C9  8=B6IF; !+ K5G 89@=69F5H9@M

=B8=::9F9BHHC"5B9C9TG5GG5I@H5B8<5F5GGA9BH 




                                                   
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       5G98CBH<9:57HGC:H<=G75G9(@5=BH=::KCI@8GI6A=HH<5HH<9F99L=GHGGI::=7=9BH9J=89B79

HC7F95H95;9BI=B9=GGI9C:A5H9F=5@:57HCBK<9H<9F!+H<FCI;<H<9=GHF=7HTGDC@=7=9G5B8

@57?C:DC@=7=9GK5G89@=69F5H9@M=B8=::9F9BHHCH<9F=;<HGC:"5B9C9 (@5=BH=::<5GGCIB8,=H@9!0

5B8 O  7@5=AG 5;5=BGH 9:9B85BH !+  77CF8=B;@M 9:9B85BH !+TG %CH=CB :CF

+IAA5FM"I8;A9BHAIGH6989B=98 

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                                            *9GD97H:I@@MGI6A=HH98

                                            , -2$/!*%

                                            M2 /1.&,*" 1".%'*&,%"15&8
                                            BH<CBM IN699
                                            HHCFB9M!B<5F;9
                                            +H5H95F&C       
                                            989F5@5F&C  
                                            H6IN699HL5HHCFB9MG 7CA
                                            CFB9@=5F5B8:=9@8 5FJ9M
                                            +H5H95F&C    
                                            989F5@5F&C    
                                            76F5B8:=9@8<5FJ9MHL5HHCFB9MG 7CA
                                            "(%CF;5B<5G9,CK9F
                                             ,F5J=G+I=H9 
                                              CIGHCB,9L5G    
                                            (<CB9  
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                                            KKK HL5HHCFB9MG 7CA
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                                            $/'!'*'&! .$(  
                                                5GH5BC
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                                             P57G=A=@9
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       
       !<9F96M79FH=:MH<5H5HFI95B87CFF97H7CDMC:H<=G8C7IA9BH<5G699B8I@MG9FJ98CB5@@
?BCKB7CIBG9@C:F97CF8=B577CF85B79K=H<H<9989F5@*I@9GC:=J=@(FC798IF9CBH<=G H<85M
C:&CJ9A69F      5GG9H:CFH<69@CK

8I5F8C 5FN5
*CA5BQ=BCRGD5FN5
+(*2*2$ $ (
 $CG65BCGCI@9J5F8
FCKBGJ=@@9,9L5G 
.=557G=A=@9
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
                                                       2 /1.&,*" 1".%'*&,%"15&8
                                                      CFB9@=5F5B8:=9@8 5FJ9M




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